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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 MARILYN GREER, INDIVIDUALLY                    §
 AND AS INDEPENDENT EXECUTOR                    §
 OF THE ESTATE OF MARY B.                       §
 GREER, DECEASED,                               §
 Plaintiff,                                     §
                                                §
 v.                                             §    C.A. No. 4:19-cv-2132
                                                §
 JOHN HANCOCK LIFE INSURANCE                    §
 COMPANY (USA),                                 §
 Defendant.
               EXHIBIT B - INDEX OF STATE COURT DOCUMENTS

        1.      Docket Sheet, B-1;

        2.      Petition for Declaratory Judgment to Determine Beneficiary of Life
                Insurance Contract, filed 05/14/2019, B-2;

        3.      Citation to John Hancock Life Insurance Company (U.S.A.), filed
                05/16/2019, B-3;

        4.      Citation Return for John Hancock Life Insurance Company (U.S.A.), filed
                05/20/2019, B-4;

        5.      First Notice of Submission, filed 05/28/2019, B-5;

        6.      Second Notice of Submission, filed 05/29/2019, B-6;

        7.      Defendant’s Original Answer, filed 06/06/2019, B-7.




                                                                               EXHIBIT B
Exhibit B – Index of State Court Documents                                       Page 1
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 Dated: June 13, 2019                        Respectfully submitted,

                                             By: /s/ Andrew G. Jubinsky
                                                   Andrew G. Jubinsky
                                                   Attorney-in-Charge
                                                   State Bar No. 11043000
                                                   Fed. I.D. # 8603
                                                   andy.jubinsky@figdav.com
                                                   Raha Assadi
                                                   Texas Bar No. 24105444
                                                   Fed. I.D. No. 3265265
                                                   raha.assadi@figdav.com

                                             FIGARI + DAVENPORT, L.L.P.
                                             901 Main Street, Suite 3400
                                             Dallas, Texas 75202
                                             Telephone: (214) 939-2000
                                             Facsimile: (214) 939-2090

                                             ATTORNEYS FOR DEFENDANT JOHN HANCOCK
                                             LIFE INSURANCE COMPANY (U.S.A.)


                                CERTIFICATE OF SERVICE

       I hereby certify that all attorneys deemed to accept service of the above-referenced
document electronically will be notified via the Court’s CM/ECF system, and all others
will be served by certified mail, return receipt requested, on June 13, 2019.


                                               /s/ Andrew G. Jubinsky
                                               Andrew G. Jubinsky




Exhibit B – Index of State Court Documents                                           Page 2
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                                             Probate
Case Number                                        Court
 467380-401                                          All


Status
  -All


File Date (From)                                   File Date (To)
 MM/DD/YYYY                                  y       MM/DD/YYYY                                   y



  SEARCH        CLEAR



  Party      Attorney   Company

Last Name                                          First Name




File Date (From)                                   File Date (To)
 MM/DD/YYYY                                  y       MM/DD/YYYY                                   y



  SEARCH        CLEAR

                                        8 Record(s) Found.

 Case               File Date    Type Desc         Subtype            Style        Status       Judge



 467380-401         05/14/2019      ANCILLARY      LAWSUIT FOR          IN THE     Open         JASON
                                  (INDEPENDENT     DECLARATORY         ESTATE                    COX
                                 ADMINISTRATION)    JUDGMENT          OF: MARY
                                                      (INDEP.)        B. GREER,
                                                                      DECEASED

 Event         Event Desc              Comments                                         Pgs
 Date

 06/06/2019    Answer                                           JH Answer.pdf               2

                                                                                  EXHIBIT B-1
    Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 4 of 93


06/04/2019   CC & Non-CC Order          COPY ORDER FORM
                                        I91706

05/29/2019   Misc. Notice               of Submission               GreerNotSub.pdf          2

05/28/2019   Misc. Notice               Notice of Submission        467380_401_NoticeSubmission.pdf2

05/20/2019   Citation Returned          JOHN HANCOCK LIFE           P262893_001.pdf          1
                                        INSURANCE
                                        COMPANY (USA) C/O
                                        REGISTERED AGENT
                                        CUSTOMER SERVICE
                                        CENTER

05/16/2019   Lawsuit Personal - Out /   John Hancock Life           Personal - Lawsuit
                                                                                             1
             Private                    Insurance Company           (out /private)
                                        (USA), by and through
                                        its Registered Agent-
                                        Customer Service, 211
                                        E. 7th Street, Suite 620,
                                        Austin, Texas 78701-
                                        3218

05/15/2019   Request                    1 Pers by P/P               467380_401_LtrClk.pdf    1

05/14/2019   eFile Original Petition    Petition for Declaratory    Greer_PetDeclJ.pdf      81
                                        Judgment To Determine
                                        Beneficiary of Life
                                        Insurance Contract
       Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 5 of 93
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                                                                                                              Diane Trautman
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                                           NO. 467 380-- -·


MARILYN J. GREER, INDIVIDUALLY                     §                 IN THE PROBATE COURT
AND AS INDEPENDENT EXECUTOR                        §
OF THE ESTATE OF MARY B. GREER,                    §
DECEASED, Petitioner                               §
                                                                                          Three (3)
                                                   §
VS.                                                §
                                                   §
JOHN HANCOCK LIFE                                  §
INSURANCE COMPANY (USA),                           §
Defendant                                          §                 HARRIS COUNTY, TEXAS


                                   PETITION FOR
                              DECLARATORY JUDGMENT
                TO DETERMINE BENEFICIARY OF LIFE INSURANCE CONTRACT

TO THE HONORABLE JUDGE OF SAID COURT:

           COMES NOW, the ESTATE OF MARY B. GREER, DECEASED ("Estate"), by and

through MARILYN J. GREER, as the Independent Executor and MARILYN J. GREER,

individually (collectively "Petitioner") and file this Peli/ion/or DeclaraloryJudgment to De/ermine

Beneficiary ofLife Insurance Conlract, and in support thereof would show the Court as follows:

                                                   I.

                                                Parties

           I.          MARY B. GREER ("Decedent") died on April 15, 2018. The Decedent's LAST

WILL AND TESTAMENT dated July 31, 2015 ("Will") was probated in this Court under Cause No.

467,380. Petitioner qualified as Independent Executor of the Estate on July 17, 2018. The mailing

address of the Petitioner is 3324 Parkwood Drive, Houston, Harris County, Texas 77021. A copy




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                                                                                        EXHIBIT B-2
      Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 6 of 93




of her LETTERS TESTAMENTARY is attached hereto as Exhibit "A" and incorporated herein for all

purposes.

         2.         Defendant, JOHN HANCOCK LIFE INSURANCE COMPANY (USA)

("Company"), .is a company qualified to do business in Texas and can be served by serving its

registered agent, Customer.Service Center, at 211 E. 7•h Street, Suite 620, Austin, Texas78701-3218.

                                                    II.

                                                  Venue

          Venue is proper in Harris County, Texas as the Petitioner is and the Decedent was a resident

of Harris County, Texas.

                                                    III.

                                               Jurisdiction

          This.action arises over the payment oflife insurance proceeds upon the death of the Decedent

in Harris Cowity, Texas, The amount in controversy exceeds the minimal jurisdictional require-

ments of this Court.

                                                    IV.

                                                   Facts

          I.         On August 2, 2007, Decedent signed an application to purchase a Flexible Premium

Adjustable Life Insurance Policy ("Policy") on her life from Defendant, through her broker, HUCK IN

FINANCIAL GROUP, INC. of Houston, Texas, and its representative, John Ache, for the purposes of

creating liquidity to pay estate taxes upon her death. A copy of the APPLICATION FOR LIFE




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INSURANCE ("Application") dated January 29, 2008 is attached hereto as Exhibit "B" and

incorporated herein for all purposes.

        2.      In Section 8. o~the Application, Decedent named her child, WILLIAM GREER

("Mr. Greer"), as the primary beneficiary of Policy proceeds with no listed contingent beneficiary.

The Policy issued on Decedent's life (Policy Number 93 902 849) named Mr. Greer as the owner

as well as beneficiary for the face amount of$350,000.00.

        3.      Mr. Greer did not earn reportable income during his lifetime that was credited to a

social security account upon Petitioner's inquiry with the local Social Security Administration office.

        4.      All premiums with respect to the Policy were made from ajoint account in the names

of Petitioner, Decedent and Mr. Greer. All funds were contributed by Decedent to this account A

copy of the BANK OF AMERICA statement noting the joint names is attached hereto as Exhibit "C"

and incorporated herein for all purposes.

        5.       Mr. Greer died on August 4, 2017 without a spouse or descendants and was survived

by the Decedent and the Petitioner. A copy of Mr. Greer's CERTIFICATEOF DEA TH is attached hereto

as Exhibit "D"' and incorporated herein for all purposes.

        6.       The relevant part of Section 8. of the Policy titled Policy Termination subtitled

Termination Date states that the Policy terminates upon "(c) the death ofthe life Insured", Since

Mr. Greer, the owner and sole beneficiary of the Policy died on August 4, 2017 and was survived

by the Decedent, the Policy continued in effect until the Decedent died on April 15, 2018. A copy



                 Pursuant to Court's request, Exhibit "D" cannot be efiled.



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      Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 8 of 93




of the Policy dated February 28, 2008 is attached hereto as Exhibit "E" and incorporated hereinfor

all purposes.

          7.       The relevant part of Section 16. of the Policy titled Owner and Beneficiaiy subtitled

Payment to Beneficiaries states that the Policy will pay the proceeds "(c) ifno primary or secondary

beneficiary is then alive, to any final beneficiaries who are then alive. " No definition is set forth

as to who are the "final beneficiaries" although Petitioner is the sole surviving member of her

immediate family.

          &.        The relevant part of Section 16. of the Policy titled Owner and Beneficiaiy subtitled

Death of Beneficiaiy states "If no beneficiary is alive when the life insured dies, the Insurance

Benefit will be payable to you; or ifyou are the life insured, to your estate." "You" or "your" is

defined on the first page of the Policy as the Policy owner.

          9.        Petitioner has exercised her administrative remedy of making a claim on the Policy
                                                                                                   1
on April 11, 2019. A copy of the letter to the Company is attached hereto as Exhibit "F" and

incorporated herein for all purposes. Defendant has not responded to this claim.

                                                      v.
                                           Laws and Arguments

          I.        The 'Policy proceeds are a non-testamentary contractual asset 1n which the Policy

terms govern unless such terms are otherwise not defined, vague or ambiguous. Section 16. of the

Policy distinguishes a primary and secondary beneficiary from a final beneficiary stating that "(c)


          2         Pursuant to Court's request, the CERTIFICATES OF DEATH in Exhibit "F" cannot be
efiied.



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       Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 9 of 93




ifno primary or secondary beneficiary is then alive, to any final beneficiaries who are then alive."
Since Petitioner can only surmise who the Policy refers to as the ''final beneficiary", Petitioner seeks

a declaratory judgment naming Petitioner as the ''final beneficiary" being the only living member

of her immediate family.

          2.          This Policy is governed under Texas law as set forth on page 3.0A of the Policy

attached hereto as Exhibit "G". Title 7., Section I 103.152(c) of the Texas Insurance Code states

"If there is not a contingent beneficiary entitled to receive the proceeds ofa life insurance policy
or contract under Subsection (a}, the nearest relative of the insured is entitled to receive those

proceeds. " The nearest relative is the Petitioner.

          3.          The Company has sent three (3) letters dated May 21, 2018, July 31,2018 and August

27, 20 I 8 which conflict as to the name and beneficiary of the Policy proceeds. The Estate of

William Greer, Deceased was named in one such letter. However, under the terms of the Policy, this

determination directly conflicts with language stating that the proceeds would pass to the owner's

estate only if such owner was the life Insured, This was not the case.

           5.          Ifthe "final beneficiary" is determined to be the Decedent, the proceeds would pass

in any event to the sole beneficiary of Decedent's estate, the Petitioner.

           6.          The only portion of the Policy that could conceivably be, included in Mr. Greer's

estate would be the Policy Value or Net Surrender Value as of the date of his death. An inforce

snapshot illustration dated August 2, 2017 shows no Policy Value or Net Surrender Value. A copy

of such illustration is attached hereto. as Exhibit "H" and incorporated herein for all purposes.




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     Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 10 of 93




                                              VI.

                                            Prayer

         WHEREFORE, PREMISES CONSIDERED, Petitioner prays this Court enter a judgment

declaring that Petitioner, MARILYN J. GREER, is the sole beneficiary of the Policy proceeds mi

the life of the Decedent and ordering that the death benefit payable under the Policy be paid by

Defendant to Petitioner, and that other orders be entered as the Court may deem proper.

                                            Respectfully submitted,

                                            THE LAW OFFIC S OF LEONARD S. ROTH, P.C.



                                            BY,:___;,~--vt-:...._--=-6C--.-.!o:::..=..---=----,,-=--
                                                    . Matthew G. Wheatley
                                                      State Bar No. 2410281 9
                                                      Leonard S. Roth
                                                      State Bar No. 17313550
                                                      4265 San Felipe, Suite 500
                                                      Houston, Texas 77027
                                                      ph: (713) 622-4222
                                                      fax: (713) 622-4427
                                                      email: LSRPC@aol.com

                                             ATTORNEYS FOR PETITIONER




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   Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 11 of 93




                                EXHIBIT "A"

                                   Copy of
                            LETTERS TESTAMENTARY




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                               Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 12 of 93




                 Know all men by these presents that it is hereby certified:

                        I. On July 17, 2018, Marilyn J. Greer was duly appointed by order of said court as Independent Executor,
                           of the Last Will and Testament of Mary B. Greer, Deceased;

                        2. On July 17, 2018, said Independent Executor qualified as the law requires;

                        3. Insofar as the records in my office show, said Independent Executor is still acting in said capacity.


                 Witness my hand and seal of said <?O·urt, at Houston, Texas, on April 08, 2019.


                            (SEAL)                                                                  Diane Trautman, County Clerk
                                                                                                    County Probate Court No. 3
                                                                                                    20 I Caroline, Room 800
                                                                                                    Harris.County, Texas


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                           Form No. 1·02-215 {Rev. 09/16/2016)                                                                                               Page 1 of 1
   Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 13 of 93
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                                   EXHIBIT 11 8 11

                                       Copy of
                           APPLICATION FOR LIFE INSURANCE
                                dated January 29, 2008




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            Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 14 of 93


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                    Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 15 of 93




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               □ One □ Two                                                    □         □            □                               □        a      $

               □ Ona □ Two                                                    □         0            □                               □        □      s

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l.@iifrig mid Pendl!!Q fn1urence • Proposl!d Ufa ln1urod(!lJcontlnued)
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                                                                       ..                                                    ..===::::/
 11. ~ Is ~-Insurance (DI) v.ilh Prol'ldenlor
       Leng Term Care (LTCl Insurance wilh Iha Company                        □.;..J[N.                                 □ Yes □ No
       curren\Jy being appUed fOr?
       If Yea; p111vlde. □ 01 dale of applir:at1on                               _,,.,                m                   -1"/               rm

                       □ LTC data or epplicatlon                                 _,,.,                rm                  ""l"I              rm

@fuliig lnsuranca • Own•tl•IB!J!lacemenl!•l • MUST BE COMPLETED                                                                                           I
12. WiUlhlslns        rep!aceexlstlng polldesor lltByoo considering u$lnglunds from exlsUng poficle$ to pay preniurns du.e en Iha nawpo11cyorconlrai:I?
      □ Yes         No If Yeo, pleas• oomprots Iha IMPORTANT NOTICE: Rep!acamentof Ula Insurance or Annull!e5 (Standard Form), NB501?.


Comp/ale when applying to, Faca Amo~nt of $250,000ot mo,e, orsny smounl of Buslnesslnsut11nce, or wtr1111 a Proposed 1./fo lnsurod
Is over age 70, (Please submit cop/8s or ffllanc/8/ st•lementr, ostare sntlly;ls. airrltsdual ll!lreel110llls; arc./            -
 13.a) Whatlslhepurposeorlhlstnsure11Ce7                          _c-~1 .1.,,- ,. . .,,.                                _I
       (e.g. estale amservaliJn, buy-sell, keypersan)             ~                     LOf:-!?P2:'\I f\TI           O l':'
    b) How was Ute need !or lhe Faoo Amoontdetannined?             'E4+ , '\AJ(..€":> DI) e-"
                                                            ---~-=-=.,==:::;:u;;:,,:;ono==:;1==U!=.,:;;r.,=,=:::::;,---
   c)   GIOS$ annual earned lncorna (salary, convrlS!!ons, bonuses, etc.)                      s                    s
    d) Gross annual unearned iNXJme (dividends, lnteres~ net real es late Income, etc.)        $                    s
    e) HouSllhold net Wl!l1h (combined)                                                        s
    Q' In lho last 5 years, has/have eilher of Ute Propossd life tnsured(s), or the buwss
       had a.,vmaiorfinanc;ialproblems {banm1plcy,etc.17 D No D Yes• mw delells
i Business lnouranca • ComP.!ele for ALL Bualneeo Insurance                                                                              t
                                r     cu        "                  u, , r            Q Whal percentage of !he business is               %
14, a) Assets                     s                     s                              owned bytlla Proposed Ure lnsured(s)7 _ _ _ _ _ __
   b) Liabilities               s                      s                              g) Ar&olherpartne1Sh>wriefs/executivesbein9 Insured? □ Yes D llo
                                                                                         If Yes, give delails,
   c) Gto$s Salas               s                      s
    d) Net lncomllBllel taxes   s                      s
    e) Fair Maikel Value        s
       orlhebl1$1ness                                  s
@.iii@iiA QuesUon•
15. Have you ever used Iobecoo or nl:'l,~~Uds In rurt fonn Onduding c!ge191les, clgal3, clgertllos, a plpo, che\\lng tobac(;o, nicotine patellas or gum)?
    Proposed LIie Insured (Life One) No □ Yes-give delatlsbelow           Proposed Lire Insured (Llle Two) □ No Cl Yes-give deta,s below
                                    ......
    I        PIOIIU<I
      Cigarettes
      Cigars
                             F         CUm,nt Poll
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                                                             • .., Cigarettes
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     Ottler.. . .                   X/day                                         Olher.                    • X /day
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IUfestyle QuesUOM • Plenso pravfde dalall1 In Ho, 21 for Yes answen.(Pag1:.0.;:,41.__ _ _ _~ - - - - - - - - - - - - '
'16. Co youengege In regular.e1«1rclse?
    Propostd Ufa Insured (I.lie One) □ No □ Yes. give detailS below              Proposed LIie Insured lLire Two) □ No □ Yes. give detals below
    a) What type or exercise?
    b) How many                -=---------
                         e) How long?                    b)Howmany
       lirnesaweek? ____ (Hours or minutes per occasion)_ timesa week?_....,._
                                                                                 a) What type or exercise?
                                                                               e) Howfcng?                  ------------
                                                                                  lHours or minutes per oa:e!Ion)
                                                                                                                             Ule0ft1         Uf1Two
17, Do you e,pect lo uavel outside lhe U.S. or canada. or chaos~ yourwunlr/ or resldonce In lhe next 2 years?            OYo,;l'!:1/tJ     □ Yes □ No
16. e)Haveyou l'iown as a sfudenl pllol, licensed ~l!o~orcniwmemberln lll!Y at-. lncludlng ulltalight planes,
       rn Iha last 2 years? If Yes, please i:on,plalll AYlallon au..uonnalre NB5009.                                      □ Ye~o           □ Yes □ No
    b) Have yoti engaged In any lonn of molonehlcla or power boatraclng, eky lfJV!nglparachuUng, &kin or saAla
       diwlg, h~liding, moun\aln climbing, or any olher hazardou• ectiviUes in thelast 2 yoers?. UY09, pleasa
       complete Awcatlon Quesllonnalru NB5010.                                                                            □ Yes        o □ Yes □.No.

                                                                            POJ03dl
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 LIies • au..uons conllnu
                                                                                                                                                    ur■ Two-
19. a) Have you committed 2orrnore moving vlolalionswithln the last 2yeais? '                                               0 Yeu □ No , □Yes O No
    b) IIMYDUbeen C0111it!eiloldrivb1gvmile Intoxicated or while ollleri.!selmpalred?                                       0 Yes □ No          □ Yes □ No
20. In the last tOyeara, hava)'Ou been convicted of acllmlnalolfense?                                                       □ Yes    a
                                                                                                                                    No         a Yes □ No
2tj Froposod LHe Insured (Ufa One)                                           j jP10IH)1ed Ule Insured (Life Two)                             j
      I®~~ 11----0.W-b_f.._..,_,_""_.._._., ,_....
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IDoclorlPhyalclen • MUST BE COMPLEJED                                                                                                                           J
      jPropo1ecl Lffe lnsurod (life One)                                      j ~IP_ro.._po_o_ecl___LH__e~'•..c•u_rsd....,_(l._lle_T""wo~l._..,..._ _ _ _ _ _ __.!
i2. a) Dale of lamisll
    b) Raeson for
                        ..,.      rm
                       _ __.__ _,____
                                         I .,                                   a) Date of las! visit
                                                                                b) Reason for
                                                                                                       -            l"rm
                                                                                                      _ _...,__....______
          the Visit                                            Illa wit
      c), Diagnosis or                                      c) Dlll(lnosls or
          oultolneoftltemtt - - - - - - - - - - - - - - - -    011lcomeollllevlsil - - - - - - - - - - - - - - -
      d) TreaminVmedica!ion                                 d) TrealmenVmedloatlon
           preaaibed                                                               prescilbed             -----------
      e) Name of doctor/physlclen consullod
           Rd                    114'-
                                                                                e) Name of doelor/physlclan consulled
                                                                                   r'tll                      !HM                   ...
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                                                                                q Adif!1SB      ..................
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                                          -
      g) Provide name and addross of dotlor/physlc!an v.ilh )'OUT complete      g) PIO'lidenama and addreu of doclcrlphyslclan V!ilh yourccmplete
         medical reccnfs ff otherlhan above.
                                                              ,.                   melfical reconls Holller than abcve.
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                                                                                                                                 -
           Address

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                       Eihllllh&~.~No




IMedlcsl Celltncatlon • Compl&le this aection when aubmllllng Medics! Examlnaflcn of another Insurer.
23. The attached exalriiuilion ts on the Ble ol:
      I                  HtlnaolPnl@ilttbtt\lrld                                  Namtcflt1turancacompany
      1.
      2.
                                                                                                                                UftO!lt             ura'hro_
      e)Tothe beslolyour knowledge end beUel, ero the Sla1emB111Sln lheexam!natlon true as oflhe detelhls
        appica1lonlsslgned7                                                                                                 OYes □ No □ Yes □ No
      b) Has Iha person 111\o was examined, consulwd a dot!or/phys~ian or r«:e!ved melllcal or surgical ed,~
         6UIOD lhe date Qf Ille eiamlna~on? II Yes, give delaRs:                                                            □ Yos □ No          □ Yes □ No



!S~al Requeo!D
24.
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                                                                    lledatallona end Authartzatlons
                                                                            DECLARATIONS
 Tho Prn,OOsed Life'!nstJred(sJ and On!lor(s) (or Paten! or Guardian) declare Iha! Illa slslements and answera In lhls appllcalion and any ronn lhel is n\8llo
 part ol this appllt:aUon mo complete and lru<t lo Iha bes! or my/our l<llow!edge and bollaw lhoy ore ccrrce11y n,,:orded.
 In addition, I/we understand 81\d agree Iha!:          ,                                                                                                   ,
 1, Tho slalemenlaand answers In !his application, v.illch lndudo lhe                2. (bl II pramlunu are paid Dlfortodeliveryolllie poUcy and lhe terms
    Poiey0eta1s and any W/llllemental/orm retalin~ la the health,                           end condlllonsollha 'remJ)Orary lmruranceAgreement are
    avfll!ion Ill Dfesl)'!e or Iha Proposed uro lnsuned(i), \\ii beoome part al             saUsfiod, lnsura~ prior lo Iha affective dale shall be provided only
    the Insurance l)llllcylS$ued as a resullollllls applicatlon.                •           underlheAgreem!IIII end IICClOrding lo i13lerms.
 2. (a) Anylile lnsuranco pollcy lssutld es a resull of this eppl~llon 11!11 be      3. /vrf person v.ilo knollingl)' end with Intent lo delraud any insurer.
        effoci!ve on Iha laterol Iha dale Iha firnl pro ml um has been pafd in          (a) mes an eppl!callon !or lnsuranca or statomonl or dalm conlalnlng
        !uD end the dale !he policy has been deriver~. Th• Insurance llill              any maledBl!y lalsa lnlormatlon, I)( (b) cancws !Qr lhs purpose or
        not be In effect II l!rero has been adelorloroUon In lhe lnsvrnbility ol        mlsfeadlng any ln$Urer, lnlormatlon concerning anymalerlsllact
        any pmposad life ~sured(s) since Ui8 dole ol lho Sjlpllcatlon.                  lhersto, may lie annm,ltlng a froudulenl Insurance ad.
        II Iha Temporaiy Insurance Agreement (TIA] coverage Is In effect
        Md a eubse(lOOnt poUcy rs ISQ!ed Wilhin 90 days ol lhe dale of !he
        edglnal l!j!pllcation, !he abow~ only ,wlles lo any
        amount In ex<ess of lhe TIA llff'<lunl ·
                                                           Altfl!ORIZATION TO OBTAIN INFORMATION
  Wle, Iha Proposed LIie lnswed(sl, eulhorize:
 1. Jahn Hancock Ula llllluranca Company (U.S.A.), John Hancock Vartable Ufe Insurance Company or Jahn Hancock Ule lnsuranco Company
     (lite Co~ny) lo obtain MlnvesUgativs oonsumer rar,on en ma/us.
 2. Any medical prolesslanel, medical care ?'Dl'lder, hosplia~ din~, laboratO!)', Insurance CXlm~y, the Medical lnlonmatlon Buroau lMIB lno.), er any other
     sJnjjlar person or organlza5on lo give The Company and Ifs relnsurera inllirmaBan about me/us or any miner chlld/Chlkfren who ls/ara ID ba IIISUJ'8~.
 The Information collected lJt The Company may relale to Iha symploms, ersmlnalfon, d',agnosls, trealmentor prognO!lls of any physical or menlalc,,ndlUon,
 In lu'TI, The Company Is Imo lo dlsdose such inlormall1)n and any Informal/on dmlDP9d dullng Us svawaUon ol rny/DW' applcalion lo:
 (e) Hs relnsurers; (b) !he MlB ln_c,; Mother Insurance companies as deslgnaled by me/u;; (d) me/us; (e) any med Jee! prolesslonal desi;naled by meJus;
 or (Q any person or enlily entideo to re<:elve suchinlormaUon by law or as I/we mayftulhrconsenL
 Wle acknowledge rocelpt ollhs NoUce or Dlselosure of Jnronnailon relallng lo lite undBl\\lillng ptllcass, lnW$5galive 110nsumer nip arts and Ille MIS Inc.
 Tolsauthorrzauon v.!11 bo valid for rwoyeara from tho data shovm. Apho!ccopy ollhlsaulhorful5on will be as valid es the origlnil.
 lnfl)fl!lallon collecled under this eulho~wllon v.!11 bo used lJt The Company to evaluate my/our epplltallon for Insurance, lo evaruato a dalm lorbenalitS,
 or for reinsurance or alhar.btsu!UlltG purpom,
 I amM'e are entitled, or my/our oulhorized representalrla Is en Oiled, lo a copy or this aulhartzallon.
                                          OWNER/TAXPAYER ceRTll'ICATION •MUST ee COMPL!lTED
 Under Iha penalllas of po~ury, Ithe OWner, certlly that
 1, The nwnber shown on Pago 1 of the ;ncat1011 Is my comctlaxpayer ldentmcaUon number (If number hos not been le,uod, write
    "Applled lor"ln lheboxonP11901), D
        eek lho eppllcable box:
         am nouu eel to BacklJI' TIIX Wllhholdin becauso {e) lam exem trrom Backup Tal WHhholdln , or                             •
          ] Ihavo n~ bean notffla~ by tho Internal ffevenua Sen1!cs (IRS) ~al Iam 1ubJecl lo Backup Tax tilhholdlng aa a r11Sult ol a falluru to
       report an fnlorest or dlvlden6, orjcl the IRS haa noUlled me that Iam no loitgereubJectto Backup TaxWlthhcldlng, A!!ll
    □ The Internal Revenue Service ORS haa noUlled me !hall em aubJecl to Baekup Tax Wllhholdlng, A!!ll                       ·
 3, hm • U.S. resident (lneludfng a U,S, resldenl alien).
 Tho lnlemal Revonus Son,lce dOG$ not req11lre your consent to any provlsfen ol lhla d=menl o!herthen the ca~IRcatlon, required to avoid
 Baell up Tu Wl!hholdlng.
ISlgnaturoa • Plaeu read eU er Iha above Declarallon, end Aulhorizallone belora signing this lonn,



D Falhet        D Mo!Mr   D G,a:o~n
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    Sw,. J\,\b1\\·, o              I)(


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______________________...._________________                                                                                                           ____
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  Name1s) or 0\\11er(s)       W d \IC\ \'\A             13Y-U-<

  Slrigle life            □ Al:cumutaUan UL       □ Parfonnence UL
                    _)(Proteclloll UL-G
                                                  □ Oilier .~ - - - - - - - - - - - - - - - - - - - - - - -
  Sul'llvorshlp LHe □ P101aetion SUL-G            □ Perlonnance SUL            □ Other

  IAmounl                     ..                                                                  ..,. ·                   :                     ..       ]
     1, FaceAmcunV                                                                    '{TolalFaceAmounllsthasumor ·
    . Besa fa'° Amounl (BFA) e~dudln9 any 8f/dill011i!f_benen1s. $ ~5' 01 t:>00 . the BFA en~ the SFA ~• Page 2.)
 , !Premiums               .,
                                 __,....,. .........
                                           .· .. -: . •..      ..   ,....   .       .                 .     .                  .                              I
   · 2: °Frequency: /2~nual · □ Sem~Annual □ Quartariy □ list Billed                                                  ·                      ·       ·
                      □ Pra•Authonzed Payment Plan (Soe Spe<:lal lnslrut\ions on cover pago end a>mplele 'Aequest lor Pta-Auttlotlzed Pa)lllenl Plan"·
                        ronn NB5087US.)
                          □ Other


                                                            Ue One       □   ure Two        □   Employefs Addras:I
      b) Send Corrasponde11ce to: □ Same as Premium NoUces [as atovo)
                                  □ Olher: Nama&Address •••·



                                                                                                                                             .....
   UNIVERSAL LIFE. SINC!LE LIFE
   4. a) life Insurance QuaificaUon Test        Gulde Una Premium              O Cash Value Aooumufa!lofl
         Note: Elected lest cann · e         need ofter Iha policy I s ~ 'l'o'u may requut an muetnitlon on both tcel& b, roro maldn9y,,ur elKllon.
      b) Death Benelil Option       Option 1 [Face Amount/BfA)                 □ Oj)Uoo 2 (fllCII ArnoonUBFA plus Polley Value}
      c) Addi1i0nal Benafils
         0 Total Olsablllly Wahler of Monthly DeduCUons                           0 Cash Value EnhencemenVEnhanced SummderValue Rider
            (Nol ava!lablev.flh Proleellon UL-G)
         t] OlsabilllY Payrr,anl olS~ed Premium (Nol available l\ith              □ Uvlng Cara Rider/Accelerated 0ealh Senelil (for terminsl mness)
            Aooumutellon UL ar Peifonnence UL} $
            Monlhl)'Speclfied PremlumAmaunl ..;..._ _ _ __                        □   urecare Benefil Rider
         □ Reluin of Premium Dealh Benefll Rider                                   (Plaa.,a complete loon NS5018.)
            (l'IVlection UL-8, Al:Cllmulalion UL and Perftlnnance UL Yoilh
            DB OpUan 1only)
            Increase Rate □ Y8'                   %      0 No
            Pe,centege al Premiums to be retumod al doalh
             ('M\ole numbe!S only. Maximum 100%)
                                                                             Poge1 ol2
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     •       •
         UNIVERSAL LIFE• SINGLE UFE • continued_
            ProlectlonUL-0
           Poll~ Prolec1!0<1 Rider (Check only one) Poricy Protection RJaer                                   □ Polley Prol~co Rider· Enhal\Q!d


            Loon lnleresl Raia !XI Va~abla
            IAcatmulaUon UL
                                                          □    Polley Protection R!der- Flex                  □ Other
                                                                                                                        -----------
            □ Supplemental Face Amount (SFA) (Chee!< only one, ti dasimd.)                                    Cl Overloan Proteellon Rlder(Only available \\ith GPT)
              □ levelSFAof $                      forUfaoflheponcy
                 0 Initial SFA of $                      Yoilh Tole! Face Amount Increasing                   □ 01her
                    by:      % or S                      per year ro!..._ policy)l1)ars (level lhereaflor)
                 □ Ctlstomlze LoveIor lncruaoing Sdledute
                 Ust b s,ollty year. SFA decmases cannot be :stheduled at Issue. Please complete form NB5064,I
            Performance UL
            □ Supplemental Face Amounl(SFA) !Chee!< only one, If deslrad.)                          □ Other
              □ LewlSFAof $                        forUlaoflhepolicy                                        ------------
                 □ tniUal SFA   or ~s_____               llilll Total s~m Insured tncroastng
                    by:         % or_$_ _ _ _ _ peryearf0!..._ pol!oyyeaisQovellherea!ler)
                 Cl Customize Level or.lncroasing Schedule
                    (Usl by policy )11)81. SFA decre8$8B cannot be sduldulw at Issue, Please comp telaform NB5064.)
         [UNIVERSAL LIFE• SURVIVORSHIP LIFE
         5.. aJ LIie Insurance aua61ie81!on Test Cl Guideline Premum               □ Cash Value Ai:tUmlllalion
                Noto: Eloe1ed test cannot be changed after the policy la lstued. Yov may requOBt en lllusltatlon on both testa before meldng yourelecll'on.
             b) Death Bonalil Option             □ Option 1 (Face Arnounl)         0 Option 2 (Face Amount plus Pollcy Value)
             c) Addl1ional Benef,ls


                   □ Life One -Amounl ..;....  _____
                D Olsebllil)' Payment of Specified Premium
                    (llol ava,lable \\ilh Perfa1TnBna, SUL)
                                               $
                                                                                   □ Poucy Spfit Oplion
                                                                                   □ Return or l'lvm.'um Death Benefil (l'.ilh DB Opllon I only)
                                                                                      Increase Rate Cl Yes                   II    O No
                    D Ufu Two •Amount $
                                            ------
                                                                                                                                      -----
                                                                                      Percentage of Premiums lobs retvmed at death
.;                                                                                    (Whole numbers only. Maximum 100%)           _        %
                D FourYearTorm(EPR)
             Loan lnt81l1Sl Rate 00 V~able
            IProtection SUl.-0
             Polley Prolettion Rider (Check only one)      □   Polley Protetlion Rider                       Cl Poilcy Protectlon Rider• Enhanr:ed


            IPerformance SUL
                                                           □ Olher
                                                                     -----------------------
             □   Suppternenlal Face Amount (SFA) (Check onJy one, ff d8$lred.]                               0 Cash Value Enhancemant (CVEI
                 DleViilSFAof S                       follieoflhepolicy                                      □ Other
                 D tnltlal SFA or S                   1'.ilh Tolal Sum Insured Increasing
                    by: __!        01   $                 per year lo!__ policy yea!$ Cover lhel'8llfler)
                 0 Cuslomlze Lewi or Increasing SClledule
                   lllsl by pol",cy year. SFA d0Ct8ases cannot be :stheduled at Issue. Please eomplale fonn NB5064.)
         IAddlUonal lnlormatlon
         6, a) II en lldd!Uonal c, option el pollcy Is being applied for In a separate eppllcallon, !IBle plan and amounL
               ..,_                                                                                                               s
             b) ooyou undar>tand that you may need to pay premiums In eddillon to Planned Premlum Hlhe currant por,cy charuos or
                aelllal Interest credlted ere different rrom Iha assumpUons used In yourlllustra~on (assuming the l"'lu,remenls of any
                app,eable guaranteed deelh benelit lealure haw not been eeUsfied)?                                                            □ Yes □ No
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                                                                                               Me!jjdl Exam
                                                                                              [!:11ohn Hancock Life Insurance Company (U.SA)
                                                                                              D John Hancock Variable Lire lnsuranco Company
      Smw:ieotft2!
      200BLOORSlREET EAST
                                                                                              D John Hancock Life Insurance Company
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                                                                                                                    lo ,. lbt Compa,,.r.J
      TORONIO,ONTAAJO
      CNIAOA tMW1ES                                                                            • llib fcmi Is pall al I/to ~ lot /1/o U1$~n«1 Air lho Piqiosod l.il8 ""umd
                                                                                               • Ncticoo/lJisdosu,o ollnll>mallankvm NB5014 mua ba 1JSec/W1)h lfrhl 1,/odJ<oJ E,omJf ! ,. ""1ng
      Mr•P.---U.°"11                                                                             slbn>lta</.,, ifs"'" llillod tho main applti)litn
                         I                                                                     • PiilleMu$Gl,/ac/r/nk. chango,mu,/bQ/mlsalsd~ylho~=lif<,.o,::fn:,:iunld.=------.

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      ,-;:-c-,j;~:·~°/~'.:tecu'.'.'.um'.:~'.:l)'r'. ./                                                                                                       □ Mata      emalo
      !Smoking Slatu•·                                                                                               --                                                                       I
        2; _H}ve you em used tobacco 01 nlCO!lno l'/Oducb In any 11,nn (!ncl1cllng cigarehe,, cigars, cigarillos, a pipe. che,wig tobacxo, nlcotins paldles or gum)?
.'·
           'l/:lles □ No IIYH ' p!ea'81"l'Yide lhe follav.ir,g dalai•
             [
                 Clgcrelles
                 Cigars
                 O\he,:
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      IFa!!!!!}'. Questions                                                               "
                                                                                                                                                                                              I
      3. Hav• any of lllUT Immediate family membels (parentsJ,rnthais and slsle11) prior to oge 65, dlad of 01 been diagna&ed •• having c:omna,y altery
         disease, s~oke Of kidney cf,soasa? □ Yes CH<o"
      4. Please pro'l!de !he lolio'Mng details
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      5, a) Namo and Address ol                                          ""                                              ""'                       ,1.   I       '"'
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              bl Te\opllonaNo.                       [       I VI-IL
              c) Dalal est ccnsil!lad                                         Reason forconsul!atlcn                                        Oia911osis/Resull ol visit
                     "~ J ..
                    lr"~I\_.
                                                         I c}"J_
                                                            ""
                                                        _CJ.:,1 ! ! ; p l . . . ~ - - - -
              d) l.1&1811)' madlcallons [p,escriptlcn 01'     Cl.
                 n0npreecripi10n)y0uaretaklngcu~anlly 'C.                  ~PG                  A:?s:T                                                   ; JF
       Heellh Quution1. Plano comp~e 0e111rr1 on ge 2lorYoo answen.
      6. Aa far•• ~ou know, within tho lut 10yeani have you had or bten told by• doi;lortllat you had:
         a) Cllasl pain, shcrlnll!S olbrealh, huart murmur, h!gh blood pro1mo. stroke. mgular heart beat, or any other disease or
                                                                                                                                                                                 □ Y8S □ No
            dllOlder cf the heart crailorles?
         bl Diabelas, e!evaled blood sugar or glucose Illtolerance or ciseaseot any glands?                                                                                      □ Yes □ No
         c) Mental or emotional dlsorda,, nerwus bnlakdOvm, conwlsiono, epll8Jl$Y, pMilysis or any other disorder ol the brain er                                                □ Vos □ No
            nalYCUS sys!Bm?
                                                                                                                                                                                 □ Yes □ No
         d) ArtMEs, 90\Jl, or any berle, join!, musde or sldn disorder?
         e) Allhma, tuvnchills, prieumorua, emphy1ema or any lung dimer?                                                                                                         □ Yes □ No
                     •          •'       :                        •·          '                 •   H




                                                                                                                                            »JiS lP'ARA MEffl/cAlG
                                                                                                                                                ~ .Antonio,              TX 782~0
                                                                                                    I
                  Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 22 of 93




        r,t.l.,~:t-~-~~-~~
        (Health Quut/ons (eonUnutd) • Pleau complete 0etalls below for Yea enswtra.
                                                                                                                                                                      7-/~J
        6. At fa, u you know, Within the laat lO yelll'S h1vo you hod or bo.n told by o doctor that you had:
            Q Clnllosis, hepalitl, , ulcer, coffb, o,vertJc;ulill,, ~elli,, cr olher dl,eeso ol lhe IIYcr, gall bladoer, pancrca,. stomach or lnl.eslkles?    D Ye, ~No
    0      g) Proslate or lcsHcut.ir dlseaso, diJca,e ol the ulOfll&, eervlt. ovlllfo, or breesu?
           h) Anemia, leukemia, r:lolting disorders, plalolot dlso,der,, lnlection,, or ,oorce, of blood Ion?
                                                                                                                                                              D YctS b(No
                                                                                                                                                              D Yes ~o
           Q 0($0C1je, ol Iha urinary lracl or kidneys, sugar, albumin or blood In the urlne?                                                                 0 Yes B!'No
           fl Canccr01tumors?                                                                                                                                 □ Yes ]ifNo
           k) An operallon or adirhalon lo a hoipllar or any other hoalth care ll>dlity, fof' observaUon, troatmlllll ol any Ulness or diagnos\!c tests,      ~.
              iodudinglteadmlDslress tesllorlnsuranco?                                   ·                        .                                          .a.Yes D No
           I) Any other heetfl Impairment or medically !teated ca,dillon?                                                                                     "'YeJ D No
        7. Wrthln lho Int 10 yur, have you:
           a) used amphetamines, barbiturates, cannabis (marijuana), alCaino, ha!Jucinogans, opiates or a11y prescription drug except In
              ac:c:onlar.oe Will physician's lnslnldions?                                                                                                     O'Y&S ~No
           b) ba,n advised lo llmlt Of dlscontnue the use of nla>hol rx dru9$, sough\ or recal\/od troa1menl, counseling or paliicipoled In a group
              tor e'cohol or drug U'87                                                                                                                        □ Yes !{'No
        8. Do you currenlly
           a) use alcdldic bevC/'l!ges?
              If Ye,, describe beveragas, - -
              frequency and quB11LJly
                                                            r- 1---
                                             --$~~~-~----------__       ~                    J
                                                                                                                                                              )(Yes □ No

              If No, have ycu ever lt$Cd e!cohollc bevcrag11.S?                                                                                               OYC3 □ No
              IIYit1, please provide         --..:--=--J.+~IW!.-r'       -1m11r1--,;......;;.;;--..,,..;;;,---
              data end reoson stopped                     •       I                 -------------------
           b) haYG sny ,ymp\oms or medlcal cooeems wtilch yoo have not consulted e docior or ooy consultation, ta31ing or lnvasllgaUon
              roaxnmended by a docio.r whidl has not yet been completed?
        9. Wilhln the last 10 years hava ymi been diagnOsed by a doctor as havi/\g Acquired Immune Defic!MCY Syndrome (ADS)?
        IDetail• rorYet anrNer, lo Health ~f!tlons •Hmore apm laJt.9.ulred,                  UIO   !htMedical Quutlona ConUnuaUon 6hNt. N85034US.
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        '·"'"'-""'"'"°"'~,-;i!
        1. John Hancodl Ula ll'ISUronoe Company (U.SA), John Hancock Variable Ute Insurance Company or John Hanaick life lnsoranct Company
             (The Company), to obtain on lnvesliga\lve airuumcr rep:>rt onme.
        2. Any physicia11, meocal c.1re J)(ovlder, hospital, dlnic, laboralory, Insurance company, the Medics lnfonnation Bureau (1.t[B Inc.~ or eny o4her aimila,
             person or Ot!Janization to give The Company and lLs reinsure1' Information 11boul me 01 My mklor thl',d v.tlo ls to be Insured.
        lhe inlormatico collected by The Company may relate lo lhe symptoms, axamfnalion, dlagno,ls, b'ee\ment or prognosis of any physical or mental ex>ndilion.
        In t1rn, ThO Compally la free lo dis dose such lnfonnallon and any lnformaUan de11alopcd o.irlng it9 ovalua~on of my oppiCll!lonlo: (a) its relnsurers;
        b) the MIB Inc.; (c) olher lnsur.-.ce compan!es a.s designated by me; (d) me; (e) any physician deslgn3led by me; or (Q any person a enHty entitled to
        raoe/va sud! inlorm~n by law or as I may further a:insent.
        I acmo'tdedge rectlpt ol the Notice of Dl$dosure of lnlorma1ion re!aUng to the undef'Mi!ing proc:e.,,, ln•,esUg~vo ccnaumer reports 1111d lh MIB Inc.
        Thiaaulhorilalion WII be va§d for t'M> years from Ulo date shown, A photocopy ol lhls aulhori2a~on ~I be 111 valid as the orig!nel.
        lnfonnalon collected und!f' this euthorization v,;nbo used by The Company lo evaluate my epp!icatlon for Insurance, lo eva!ua!e a dalm for benefits, or
        for re!tlwrenoo or other ln$\.fll1lCG purpose$,
        I em en!iled, or my mrthorized repre:18/l!a!ive I, enUUed, to e copy or !hi$ ou\hoiwrtion.
        (filgnatures                                                                                                                                                        J
        I have read \he statomenls and ansW11!'1 In this form and lh&y aro compete and we to Iha l>&sl ol rrry knov.111dge and belief. I hereby agree that they shall
        form part ol lhe a:t:;:lionlor life Insurance for v.tlch this medical lnformafion was r&c1ulrod by Tho Company.
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                                                                                                                       San Antonio, nc 782410
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                                                          SAN ANTONIO, TX. 78240
                                                     (0) 210.697,00??        {F) 210.697.0930
                                                           (Ton Jm) 866.B91.APPS {2777)



                MIEDOCAL IHISTOIRY CONTDNUATION SD-IIEET
         INSURANCE COMPANY: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


         PROPOSED INSURED:
      ~·.                                              \i0'_~                               M.I,



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                                                             Financial Underwriting Supplement                                                 .~
                                                             D John Hancock Life Insurance Company (U.S.A.)                                      :S       ~~
                                                             0 John Hancock Variable Life Insurance Company                                      ~         ~
 Sesv'.ce Ofiot..
200 Bl.OOR STREET EAST                                       D John Hancock Life Insurance Company                                               ril       ~
TORONTO, ONTARIO                                             (hnnDl!ot ref~ lo as TM Com,otflyJ                                                     ;      :;;
CANADA M4W 1E5                                               • Tll/1 follTI mu,t bt comp/Glod ,oo &Ubmlttod lrith ;o formi/ ;,ppl/QUon, If tt1, Profited Uf,n
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!Owner
 1. Nameor
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2. Name"'-        b:tt ':(\I\              --.           '1~                        Name~                                 -•


                                                                        '°'
3. Is !here, oc v.iU 1/tere be, 8/l understanding or agraement pro"'°lng aparty, other lhan the Olmer loobtain any righl litle or other legal or beneficial
       rest in ony policy Issued on lhe life of the Proposed Ufo lnsured(s) as a resut ol this application?
, .No D Ye.,• give details
                                     ---------------------------:-----
                                                     Cv   ~ /'!,
4. a) What Is the p!MtJod source oflho funding forlhe PoficyOes)curronlly ~piled for?                 ('./'(A-JJ--                            I~
                                                                                                                                       1
   b) WiO the OM\er, now or In lho future, be paytng pr~ms fundod by an Individual and/01 an onlily other than Iha Proposed Ure lnsured(J), or the
      Propose<! life lnsurod's emp!oyer7 0 Yes ~ ~o If Y", answe,- question 5. II No, proceed lo questlon 6.
5. Will !hepremiums be fin a~ lluough a loan?
                                           ~   o O Yes
   II No, desailelhe fundlngarrengemenl _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   II Ye,, answer the following quosoons.
       a) Whal Is lhe lnlerosl rate per annum?             '/4


         □ No O Yes - gl~e details
                                            _________ ___________________
      b) In addition to repayment of principal and !nteresl. ere thero other lees, c:hasges or other consldera1lon to be paid on maturity?
                                                                                ..;...



      c) \-VIia! Is lhe duration of the loan?
      e) Whal amount and type ol collall!ral
                                                --------                          d) Who !s lllelendO!? - - - - - - - - - - - - -

          isrequired to securo the loan?

. Will any pc{ic:y Issued on Iha rire of Iha Pfopos&d LIie ln&Umd{s) as a ra£ull of this application replacs a policy v.tildl hes been ~Blluted or settJed?
6)\
    No D Yes -give detaUs
                                     ------------------------------
7. WIii anyenUty other than a Die lnsuranco company be medicaly evaluating lhe Proposed LIie Insured to determine lifeeipectancy or lo otherv.lse obtain
   financing?

 ~ No            D Yes-glvedalails - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

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~b~....____ __
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                                  EXHIBIT "C"

                                     Copy of
                            BANK OF AMERICA STATEMENT




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                                                                                        Platinum Privileges

!Barak of Ameroca.
P.O. Box 15284
Wilmington, DE 19850                                                                         Customer service Information


                                                                                        @ Customer service: 1.800.432.1000
                                                                                             TDD/TTY users only: 1,800.288.4408

  MARY B GREER
                                                                                             En Espanol: 1.800.688.6086
  OR MARILYN J GREER
  OR WILLIAM J GREER                                                                    0    bankofamerlca.com
  10903 WILD GRAPE DR
  SAN ANTONIO TX 78230                                                                  Q Bank of America,  N.A.
                                                                                             P.O. Box 25118
                                                                                             Tampa, FL 33622·5118




Your Platinum Prh,ileges Adv Tiered Interest Chkg
 for July 10, 2013 to August 8, 2013                                                    Account numbef(.__ _ _-Jp452
Please tie       to
           sure review the Important changes to your account explained In ilia .riotic'e encloseifwith ttiis statement.         We;/~ ·
available to discuss any questions you inay have by calling us at the toll-free number on your statement or visiting a nearby
banking center.




Account summary
Beginning balance on July        io,   2013                       ·__$62,173.86
Deposits and other additions                                         5,964,64

ATM and debit card subtractions                                          -0.00
Other subtractions                                                    -454.50

Checks                                                             ·22,067.55
Service fees                                                             -0.00
Ending balance on August 8, 2013                                  $45,616.45




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                                       ·_• -                       _ ___.
                                 Online or on your mobile device, BankAmerlDeals' makes it easy to
                                 get cash back at stores, restaurants, onllne merchants and services.
                                 Just choose the cash back deals, pay with your eligible debit or credit
                                 card and the cash back gets pllt into your Bank of America• account.
                                 To get started, visit www.bankofamerica.com/deals or tap the
                                 "Deals• icon in Mobile Banking.


Pl.lll: B CYCLE: 4 SPE.C:: 0 CEL~: P IYPE:   IMAGE: I BC: TX
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MARY 8 GREER   I   Account #I    :   :, ~452 I   July 10, 2013 to August 8, 2013

IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
Change of address - Please call us at the telephone number listed on the front of this statement to tell us about a
change of address,                                          ·

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed
that your account would be governed by the terms of these documents, as we may amend them from tlme fo time.
These documents are part of the contract for your deposit account and govern all transactions relating to your account,
including all deposits ?3nd withdrawals. Copies of both the deposit agreement and fee schedule which contain the
current version of the terms and conditions of your account relationship may be obtained at our banking centers,

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt
Is wrong or you need more Information about an electronic transfer (e.g .. ATM transactions, direct deposits or                       ,,
withdrawals, point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number
listed on the front of this statement as soon as you can. We must hear from you no later than 60 days aftel we sent you
the FIRST statement on which the error or problem appeared.

Tell us you1 name and account number.

Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or
why you need more information.                                                                        f ·•......:.~ ..
                                                                                                           o


Tell' us the dollar amount of the suspected error.

Fo1 consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and
will correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts
customer) (20 business days if you are a new customer, fo( electronic transfers occurring during the first 30 days after
the first deposit is made to your account) to do this, we wlll·credlt your account for the amount you think is in error, so
that you will have use of the money during the time it will take to complete our Investigation.

For other accounts, we investigate, and If we find we have made an error, we credit your account at the conclusion of our
Investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are In the best position to
discover errors and unauthorized transactions on your account. If you fall to notify us in writing of suspected problems or
an unauthorized transaction within the time period specified In the deposit agreement (which periods are no more than
60 days after we make the statement available to you and ln some cases are 30 days or less), we are not liable to you
for, and you agree to not make a claim against us for the problems or unauthorized transactions.

Direct deposits- If you have arranged to have direct deposits made to you1 account at least once every 60 days from the
same person or company, you may call us at the telephone number listed on the front of this statement to find'out If the
deposit was made as scheduled.

@. 2013 Bank of America Corporation


                                Bank of Amor!ca, N,A. Member FDIC and      'G:1-   Equal Housing Lendor




                                                                                                                         Page 2 of6
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                                                                                    Your checking account
BankofAmerica~·
MARY B GREER    I   Account   W       6452    I   July 10, 2013 lo August 8, 2013



Account summary - continued
Annual Percencage Yield Earned this statement period: 0.02%..
Interest Paid Year To Date: $15.48.




Deposits and other additions
Date           Description                                                                                        Amount

08/01/13      !e~as ~.on:,ptrol!r Des:T'.sannulty l_d:24643857147000                                            2,394.74
08/01/13      Us Treasury..310 Des:Xxva Benet ld:Xxxxxxx.xx.10 35
                                         ..                                                                     1.215.00
08/01/ 13     Dias-Cleveland Des:Af Ann Pay ld:Xxxxxx.xxx                                                       1,077.85
                  ·- ·-- . ·· ·--    -      - . . -··-
08/ 01/ 13    Texas__Compt:ollr Des:Trsann~ity ld:246438~7 1470~_0                                               222.13
08/01/13       Dias-Cleveland Des:Af Ann Pay ld:Xx)(Xxxxxx                                                        90.00
08/02/ 13      Ssa Treas 310 Des:Xxsoc Sec ld:Xxxxxxxx.>ta Ssa                                                   964.00
08/08/13      Interest Earned                                                                                       0.92
Total deposits and othor additions                                                                            $5,964.64


\1Vit11ci rnwa Is a ncl 0th er subtractions

Other SL1btrc1ct1ons
Date           Description                                                                                        Amount

07/ 25/13      94004 MEGA         DES:PAYMENT       ID:9053739527                                                -444.50

07/ 26/ 13     NASE           DES:NASE Dues 10:43018                                                              -10.00

Total other subtractions                                                                                       -$454.50




             Paperless statements. Very smart.
             Switching to paperless documents helps make secure record keeping easier. You can find, view,
             download and print any time-all in one place. You get email notifications when your statements
             are ready. Plus, il can help reduce the ri sk of mail fraud and Identity theft.

             To go paperless. enroll in Online Banl<ing at www.bankofamerica.com/onlinebanking,
             find the green leaf Icon on your account documents and click "go paperless:



                                                                                                      Page 3 of 6
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MARYBGREER       Account#C           JR452      I   Jul)' 10, 2013 to August 8, 2013



Checks                        ·- -     ·-r•.


Date         Chee~#                                      Amount                        Cate           Check#           Amount
07/11/13     7386                                        •17.00                        07/?2/13       7396             -75.00
08/08/13     7391•                                      -504.00                        07/30/13       7397         -20,069.89
07/18/13     7394*                                      -600.00                        08/02/13       7398            -400.72
07/12/13     7395                                       -400.94
                                                                                       Total checks              -$22,067.55
                                                                                       Total # of checks                    7

• There Is a gap In sequential cl,eck numbers




                                                                                                               Page 4 of6
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                                 EXHIBIT 11 D"

                                    Copy of
                              CERTIFICATE OF DEATH




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                                             EXHIBIT "E"

                                                Copy of
                           FLEXIBLE PREMIUM ADJUSTABLE LIFE INSURANCE POLICY
                                         dated February 28, 2008




z:\Grcc4587\Pe1Dcc\J,wpd
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   JOHN HANCOCK LIFE INSURANCE COMPANY (U.S.A.)
   A STOCK COMP/\NY

   Life /11~11red         MARYGltEER

   Policy Nm11/1e1·       93 902849

   Plan Nt1111e           l'rotccllon UL-G


   FLEXIDLE PREMIUM ADJUSTABLE LIFE INSURANCE POLICY
   ADJUSTABLE DllATII BENEFIT.
   BllNlll'JT PAYABLE ON ure INSURllD'S DllATI I.
   FL!lXIDLE PREMIUMS PAYADLE! TO ATTAINllO AGE! 121 DURING Tl Ul LIFE INSURED'S LIFETIME,
   NON-PARTICIPATING (NOT ELIGIBLll FOR DIVIDllNDS),




   In this policy "you" nnd "your" refer to the owner of the policy. "We", "us" and "our" refer lo
   John Hancock Life Insurance Company (U.S.A.).

   If the life insured dies while the policy i.1 In force, we will pny lhe Insurance Benefil to the
   beneficiary, subject to the provisions of lhe policy, The life insured and the beneficiary ure
   named in the Policy Specifications section of this policy, The lnsurnnce Benefit Is described In
   the Insurance Benefit provision. lf the Company makes other plans of payment available other
   thnn a lump sum, then a beneficiary may request written election of uny such other plans in lieu
   of n lump sum.




  READ YOUR Poucr CAREFULLY, It i8 a legal colllract between yo11 a11d IIS,
  RIGHT TO RETURN POUCY. 1j for a11J1 reason JIOII are 1/Ot 8atisfied witl, J'Ollr po/{cJI, JIOII ma,
  return it for cancel/atio11 by dellverh1g or ma/l/,1g It to us or to the age11t who sold It. If tMs
  pollcJI does 11OI replace a11olher pollcJI, JIOU lllaJI return it wltl,111 TEN daJIS after recelvi11g It, or
  if it replaces 0110/her policJI, JIOll maJI retur11 it with/11 THIRTY da)ls after receivi11g ii. We will
  ref1111d i11full 1T1e pay111e11t made, The policy will be void from the begi1111i11g,




06PROULG                                                                                            U0J06TX
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                                                                                           Tnble or Contents

SECTION.                                                                                                                                                                                                           fA.GE.
      1 PCI licy Spacifi:CUti ons ..;;,~. ;·;.,;;.~.~--~-·:.,u,,;~.... ;, ••~.....~~-~; ......~ .... :·....••••-.... ~•• ;;:..~ ............ , .:a
      ~ ·'i'uhl~ Of.Ouurzinrc-Cd MnX;Jl'lUi1l Cost of insunmcc Rates ...... ;;;.,.!: ...·:......;.~ .......~.:.-.4
      3 ·µcrhiiii bn~·_;. :~~ ~                                ~                       :!!!"~·.:•• :....~. '. ,:; .......: .... ~-~o;.. ~;;; :--·; ~-- ;~--:.i ._..·:, •~
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         . rancr:.                . •. ~ ..~;..;; ..·..... ,; ... ,,u , , ••• ,....... , .... , -*"',
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                                                                                                                                             ,.............,...:6     ,.•
      S lntcmst    Oil
          . .. ... . . Procecds .   ....•..    ~ ....... ·.,,.,  .... _,;,  .....................   : .......   ,.... ·..  , ................................
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      6 .P11yn1on1 of Prc:miums-•• ~ ..;.....;;.·; ••. ~ .• ~.;~ ...~:••• :~·;.......:.;,.....~.·.-; ...............-;,i,~.....;......... ,•• 7
      _1" .Gtc:cc: ~Cft~~ ~-:: ·..;........ ~-.~·:. ~~..~~-~.:~..· · ~ .;~~ . ,_.._. ,~, ,:~. ,.:. :.~ :~ ...~_.; . . . . ••?:,• ••••;. ~ .... ,.-.; ,i                                                        w .-;•••• -~·

         ~: .P_ol icy ~~cm:ihiati~n.............~ .........,..~., .. ,,:o• •.• ~··:· .... ,.~.. •!!H.•:•.· •..... ·: ••• ;_;~;.·.":-"'~! .~.. ._:••·.-. ~~~ ._.;: ~
        9 .~Ci o~t~t~m~nt ••. l♦I ~              .- . . . .                               ·~·:-·••u•• •• !... •. ·~· -~ ~- ..... ''! ! ••• ··~-..,'!·. ·~ ;._:,,9
                                                              . . . . . . . . . . · · · · · , ·~ . . . . . . . . . . . . . . . . . . •, · · · · ~ ·


     .JO ·Policy C":)ntinuutlon Ai·AttninCd Age::12l ..:; .........:... ,........ 1..............m... •.•·· .. •••iu.,••::.••1
       i.1 PoUCy
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    ·1~ ·-P~lii;;y·v«,h.1c Ctj1~~~itJ1?n ·•~'"·;·;;;,...•~··:•~u·•:..-..~ ...:;..;;... mfu••~··::.:.... ;•..;....~.--..•·;·····•·HI ~ 1.
     ;~3; ~~lif?y        to~  ~riditi~~~-_......:....,. ...... :~··.··.......,, .... ~,'._. .._. ..,.:~... ~ •.-~; ••.•..•~.. :_..~ ..:.• ;;_.•;~:, ..~ ...: l,2
       1"-- ··surl'OndCi ana \Vithclr'awnhi ......................................................:...·......                                                   13                         u:......:..........
   J~ ·,cirnnglag th_c Dwth . Bcneiit'Optlo·n rir Dcci-c~i~·s_th·e F~ce Amt:>u~t"-:, ..:.'.,:... ::_.... ·14
       16~..O\Vi\Cr
               '          '   ,.    .. ... .. .-:.:........;.-....... f.~f;••·· ..........; ••• ~ .... :..•••
                    ., nnd Bcnc-fici11ry                                                                                        .
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    ·18"; ~i.~S_lutcm~~{S ~r-~ge, ·uncl ~~x ............
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   .~9 ..:suicid"e 6~clusi6n.;., ... ··~··~--·· ..........._. ....~ ...···~•:uuuu,~.... ! .............:~ ..._..rt: :.._:'" •.HH:•·~···: 17-:
    -~o · ~neon testability ....;.;·.•. ;;..;....~ ...;•...•. ,uo',O.Ou, .......; ....................... , ..................~••.• ......_..;9•• 17
   :Z1.· •The Contrnct.•:::. .....,..;i ...,.;04:::.:.:.....:,.;.·.·.... .-......::,:...•..........·.....~ ..;. •·•••··•·•·•• .. ,··.............:17 ··
   -~: __Right.To Postpone P'1i.m~nt 9{ B.e".crits:... ,•.. ,,:~.,...,·.:......:,.; .... :•.....,.................-..... (8:
   =-~- •~ loims ~f ~-~ditO~S-,u•:~•-•u.••....                                        ·~·••m11•~~...• ,_., ·~··~: •; .....:, ....~.};••                   ?·.;~::._._~.-::••• :..~--:.,-. .... :.;. ... ,JS•
   ." .24·= ·,;:urrency_'.ond eJace Of. Paf lll~rit ·,.:·:·.-·~·:"'~•.......... •·-:--·~··~ .... •:·~ ,. ... :•~~ .. ·.~""!:;...-.·..:.. ~...:~, .. i~ ·
    ·~- Annuo.l.St?-f~ment ;·.,·,u.~...................;...................... ··~·?• .. ~·· ... ,-..:··--"·' .. .....,... ~•-··· ··~·:~·-~-1~:
    :~~ P.roj~ct\9n ~~po~--~----~·; ....-::•• ;,.,; ... ,;.;,.....:..~; ......·...;.. ;... ;..·, .. ;.....................! ..... ~........ .-\J.8 _.
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     .28. Ho,V Vnh~C.S ar~-~~i:np.U~d .•• i"'''\i••·:•".•;--:;~:_~•••~•••ii••'· ..... ~•. *-;f~~~._._._•·~~;-....·..................... lO.


   'A ~opy ofthc uppilcuiii:rn, any supplementory.lienefits; ·onil tiny.etid~~elt)el)ti; _folio\\'
   :pa1w19; .      .         . '.
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ULG7R

J. POI.ICY SPECIFlCATlONS




         LIFE INSURED       M/\RYGRl.:ER                                   AGE AT POLICY DA'l'F. 81

  POLICY NUMBER             93 902 849                                      POLICY DATE AUG 2, 2007
                                                                             ISSUE DATE FF..O 22, 2008


              OWNER        WJLLlAM GREER


         DENEFICIAR Y       AS DESIGNATED IN THE APPLICAT1ON OR SUDSEQUENTLY CllANGF.O

  PREMTUM MODF..            ANNUALLY

   BEGINNING ON
  MON DAY YEAR              PLANNED PREMIUM
   AUG 2, 2007              I. $20,0C\9.89 FOR 24 YEARS                 2. $0.00 TllcllEAFTER



 GOVERNING LAW              TEXAS


   This policy provides life insurance coverage for the lifetime of 1he life insured if sufficient premiums 11re paid.
   Premium payments in addition to the planned premium shown mny need to be made to keep this policy nnd
   coverage in force.

   Keeping the policy and coverage in force will be affected by factors such as: changes in the current cost of
   insurance rates; the amount, timing and frequency of premium payments; the interest rate being credited to the
   guaranteed interest account; changes to the death benefit option; decreases in the face amount; loan activity; and
   partial withdrawals. Also refer to the Grace Period and Policy Termination provisions under sections 7 and 8 of
   your policy.

   This policy will not go into default if all planned premiums shown above nre paid when they ore due, and you do
   not take any pol icy loans or wilhdrawals. For purposes of lhe preceding statement we have assumed maximum
   mortality, maximum expenses, minimum interest and thnt you do not terminate any supplementary benefit riders
   issued with your policy.

   Plan details, risk classification and additional rating are shown on the next page.




 3.0I\                                                                                                    U030A06B
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                                                                     ,:,•                        . . . : .-             . '••     ' •....




lJL007 I

I. POLICY SPF.CIFICA'l'IONS (CO;.:.N:..:T..:.:(N..:.:U::..:li:::'D"--)..;-P:..:O::..:L:.:;(C::.;Y:..;9;.::3;.::9.::0l::..:B::..:49:..___ _ _ _ _ _ _ _ _ _ _ __



            Lll'I! INSURED                      MARYGIWcR

        POLICY NUMRER                           93 902 849


                       PLAN                     FLEXIBLE PRl:MIUM ADJUSTABLE LIFE INSURANCE

                                                POLICY PROTECTION RIDER

           FACEAMOUNT                           $3S0,000,00

         DEATH BENEFIT                          OPTION I

                            SEX                 FEMALE

RISK CLASSIFICATION                             STANDARD NON SMOKER


 ADDITIONAL RATING                              NOT APPLICABLE




                                                                                                  ,_




                                                                                                                                        U0J0B05
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Ul,GU7 I

· I, POLICY SPECIFICATIONS (CONTINUED) • POLICY 9.l 90Z 1149


                                  MAXIMUM EXPENSE CHARGES

    MAXIMUM I>IWUCTIONS FROM PREMIUM PAYMENTS

     PREMIUM'CIIARGE:                  A PERCENTAGE OP EACH PREMIUM PAYMENT, TUE
                                       PERCENTAGES AS SHOWN BELOW

                                        POLICY YEARS                 PERCENTAGES
                                             I                 4% OF PREMIUMS PAID
                                             2ANDAFTER         3%,

    MAXJMUM MONTH!.Y DEDUCTIONS FROM GUARANTEED lNTERE&'T ACCOUNT

    ADMINlSTRATIVE CHARGE:             $   10.00.
    CONTRACT CHARGE:                   S0.0067 PER SJ,000 OF FACE /\MOUNT OF THE BASIC
                                       POLICY.
    COVERAGE EXPENSE CHARGE:           $0.3100 PER $1,000 OF FACE AMOUNT OF THE BASIC
                                       POLICY.                             .
    COST OF INSURANCE CHARGE:          DETERMINED 1N ACCORDANCE WITH SECTION 11.
                                       MAXIMUM MONTHLY RATES PER $1,000 ARE SHOWN IN
                                       SECTION 2.

   OTHER MAXIMUM CHARGES
    SURRENDER CHARGE:                  SEE PAGE 3,1B FOR MAXlMUM SURRENDER CHARGES.

    WITHDRAWAL CHARGE:                 $25.00 PER WITHDRAWAL. (Slili SECTION 14).

    SUPPLEMENTARY BENEFIT CHARGE:            WHERE APPLICABLll, AS DESCRIBED IN TIIE
                                             SUPPLEMENTARY BENEFIT PAGE A'ITACHED TO
                                             THIS POLICY.




  3.1 A                                                                              U03 IA06
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                          '-   .....                                                                 ·-- ,_


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I, POI.ICY SPECIFICATIONS (CONTINUED)· roucv 93 !)02 84!)

                                               MAXIMUM F.XPF.NSE CHARGES

          SURRENDER CHARGE:
          A SURRENOF,R CHARGE WILL Bl,'. DUDUCTJJD l'ROM THE GUARANTEED INTEREST
          ACCOUNT UNDER CERTAlN CONDITIONS AND WILL REDUCE OVER TIME ACCORDING TO
          THE GRADING PERCENI'AGllS SHOWN IN THF. TARLE RELOW, SEE SECTIONS 11, 14 AND 15
          FOR DETAILS.
          THE SURRENDER CHARGE IS DETF.RMINED AS FOLLOWS:
          FOR THE INITIAL FACE AMOUNT
          (I)   $21,000.00; MINUS
          (II) 26% 01' nm SUM OF PREMIUMS l'AID IN THE FffiST POLICY YEAR UP TO AN AMOUNT
               NOT GREATER THAN $20,188.62.
          THE INITIAL AMOUNT OF SURRENDER CHARGE WllL REDUCE GRADUALLY OVER THE
          SURRENDF.R CHARGE PERIOD UNTIL IT BECOMES ZERO. THE TABLE BELOW SHOWS THE
          APPLICABLE GRADING PERCENTAGE AT THE BEGINNING OF EACH POLICY YEAR DURING
          THE SURRENDER CHARGE PERIOD (l'ROPOR'flONA'l'E GRADING PERCENTAGES APPLY FOR
          OTIIER POLICY MONTHS), THE AMOUNT TO WHICH THE SURRENDER CHARGE IS REDUCED
          AT ANY TIME IS DETERMINED BY MULTIPLYING THE INITIAL AMOUNT OF SURRENDER.
          CHARGll BY THE PERCENTAGE '!'HAT IS APl'l.lCABLE AT THAT INTERVAL DURING THE
          SURRENDER CHARGE PERIOD.

                                       !~HAR':3~_P
                                         SURRF.NDeiJ~ I    ~~~  ]_
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                                       '             I                           100.00%    I
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                                                                        i
                                                                                 94.44%
                                                                                 88,89%
                                                                                 83.33%
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                                                     s                  i        77.78%
                                       'l:                              'I·.
                                                     6_                          12.22%
                                       i.            7                            66.67%
                                       !·,.          8
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                                                                        !
                                                                        1
                                                                                  61.11%
                                                                                  SS.S6%
                                       I
                                       !             10                 '         50.00%
                                       '
                                       ;:            11                 !i.      44.44%
                                       '~-           12                          38.89%
                                       •·            13                 'l-      33.33%
                                       1:            14                  ,.       27.78%
                                       !
                                        I
                                                     IS                 !         22,22%
                                       '             1167               -1··.     16,67%

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                                                                                  I 1.11%
                                                                                   5.56%
                                                                                  _0,00% _ _




  3.lll                                                                                         U031BOG
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                             ..   -·~·-·-·.


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     ----------------------------'·--------
     1. POUCY SPECIFICATIONS (CON'J'INUuD). POLICY 93 902 849

                                                   TABLE OF VALUES

                   Rorer tu your pulley provision, fnr details on the terms nnd vulues shown In this table.


          MINIMUM FACE AMOUNT                                             $100,000
          MINIMUM FACE AMOUNT DECREASE                                    $10,000
          LIFE INSUMNCI:: QUALIFICATION TEST                              CASH VALUE ACCUMULATION TEST
          MINlMUM !NfflAL PREMIUM                                         $1,487.63

          MAXIMUM ANNUAi. PRliMIUM                                        Sl,000,000

          GUARAN'J'lll:D INl'EREST ACCOUNf RATE                           3.00%

          I.OAN INTEREST CHARGED RATE DASIS                               VARIABLE
          MAXIMUM LOAN DIFFERENTIAi.                                      2.00%

          MINIMUM WITHDRAWAL AMOUNT                                       $1,000

          DEA'll-! BENEFIT DISCOUNT FACTOR                                1.0024663




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r


       3;2:                                                                                              UOJ206TX
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I. POLICY SPECIFICATIONS (CONTINUED)· POLICY 93 902 849

                          TARLl!: OF MINIMUM DEATH BENEFIT FACTORS


  LIFE       MINIMUM         LIFE        MINIMUM            LIFE       MINIMUM           LIFK     MINIMUM
INSIJRED'S    DEATH       INSIJRED'S      DEATH         INSURED'S       DEATH         INSURED'S    Df:ATH
A'ITAINED     BENEFIT     AITAINED       BF.NF.FIT      ATTAINED       BENEFIT        ATTAINED    BENEFIT
  AGE         FACTORS        AGE         FACTOlts          AGE         FACTORS           AGE      ~"ACTORS

   81          1.4087         112          1.0000
   82          1,3807         113          1.0000
   83          1,3545         114          1.0000
   84          1.3297         115          1.0000
   85          1.3063         116          1.0000
   86          1.2842         117          1.0000
   87          1.2628         118          1.0000
   88          1.2431         119          1.0000
   8!)         1.2247         120          1.0000
   90          1.2076         121          1.0000
   91          1.1910
   92          1.1733
   !)3         1.1552
   !)4         1.1374
   95          1.1197
   96          1.1022
   97          1.0836
   !)8         1.0623
   99          1.0350
   100         1.0000
   101         1.0000
   102         1.0000
   103         1.0000
   104         1.0000
   105         1.0000
   106         1.0000
   107         1.0000
   108         1.0000
   109         1,0000
   110         1.0000
   111         1.0000

                 Jlor Allained Age'122 ond obovc the Minimum Death Benefit factor is 1.0000.




                                                 PasoJ.2A
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11!,BPPR


I. POl,ICY Sl'KCIFICATIONS {CONTINUED)- Policy 93 902 849


                                        SUl'PLl!:MF.NTARY DENEFITS

                        BENEFIT        POI.ICY PROTECl"ION RIDER

                  I.I I'll INSURED     LIPE INSUREO"S NAMll, AGE, SEX AND RISK CLASSIFICA"l'ION ARE SHOWN
                            DIITAILS   IN Tllll POLICY SPECIFICA"fJONS SEC.'TION FOR TIIE POLICY,    .

                UF.Nllr!T PcRIOD       UP T01'HI! I.IPEINSUREO'S ATTAINED AGE 121

                  RF.NF.I'll' COST     NOT APPLICABLE

  Tllll l'OLLOWINO ITEMS ARE \JSllD IN DE'fERMININO THE POLICY PROTECTION VALUE AS DESCRIBED IN THIS
  BENl:FIT:
            POLICY PROTECTION          NOT Al'PLICABLE
                 BllNEFIT COST

            POLICY PROTECTION          POLICY YEAR I;                    4% 01' PRllMIUMS PAID
              PREMIUM CHAROE
                                       POLICY YEARS 2-6: ·               3% OF PREMIUMS PAID

                                       POLICY YEARS 7 AND AFTER:         2% OF PREMIUMS PAID

                                       WHEN TABLE 2 POLICY PROTECTION VALUE RATES ARE. IN EFFECT, FOR
                                       POLICY YEARS 7 AND AFTER, THE POLICY PROTECTION PREMIUM CHARGfi
                                       IS 3% OF PREMIUM PAID,

        POLICY PROTECTION              SIO.O0
    ADMINISTRATIVE CHARGE

            POLICY PROTECTION          $0.0067 PERSI000 OF FACE AMOUNT
             CONTRACT CHARGE

            i'OLJCY PROTECTION         THE POLICY PROTECTION VALUE WILL BE CREDITED WITH lliE
                VALUE INTEREST         PERCllNTAGE RATES AS SHOWN IN THE TABLE 01' rOLICY PROTECTION
                         RATES         VALUE INTEREST RATES IN SllCTION I,

             POLICY PROTECTION         RATES ARE Dl!TERMINliD FROM 1'HE POLICY PROTECTION VALUE RATES
                   VALUE RATES         TABLE I OR TABLE 2 AS SHOWN IN SECTION I AND AS DESCRIBED UNDER
                                       THE POLICY PROTECTION VALUll PROVISION.




                                                                                                            !·




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06Brrn
: I. POLICY SPF.Cl1''1CATIONS (CONTINUED)~ POLICY 93 90z'849


                                        POLICY PRO'l'ECTIONVALU~: RATE~;

                                                       TABLE!
The Policy Protection Value Rates arc the cost of.insurance rates for the l'olfoy Protection Value calculation, The rnte
per dollar equals the rate shown below divided by 1000. The cost of insurance rates will he increased for any Additional
Rating shown for the bosic poifoy in Sectiim I. The Policy Protection Value rates arc not used in calculating the actu~l
11olicy ~•_lue, cash ~urrcnder value, or death benefit provided under 11,c policy. The Cost of Insurance calculation is
defined in the Policy Value provision of the basic policy.
 POLICY       MONTHLY          POLICY        MONTIILY         POLICY        MONTHLY          POJ.ICY       MONTHLY
  YEAR           RAl'ti:        YEAR            RATE           YEAR            RATE            VEAR           RAn:
                   ·s                             s                              s                              s
     1         4.055000            32          1.355825
     2         4.140688            33          1.205178
     3         4.451S78            34          1.054S30
     4         4.644022            35          0,903882
     s         4.896977            36          0.7S3236
     6         5.161304            37          0.602588
     7         S.43479S            38          0.4S 1941
     8         4.661665           -39          0.301294
                                  "•·
     9         4,812566           40           0.150647
    10         4.882427
    11         S,089621
    12         S.391466
    13         5.545417
    14         S.140619
    15         3.916836
    16         3.766188
    17         3.615541
    18         3.464893
    19         3.314245
    20         ).163598
    21         3.012950
    22         2.862302
    23         2;711655
    24         2.S61007
    25         2.410359
    26         2.2S9712
    27         2.109064
    28         1.958416
    29         1.807769
    30         1.657l21
    31         I.S06473




  3,3A.Q6ll
         Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 42 of 93




069PPR


I. POI.ICY Sl'l::CI FlCJ\TIONS (CONTI NU GD) - POLICY 93 902 849

                                       l'OLlCY l'ROTECTION VALUF. RATES

                                                        TJ\BLF. 2
The Polley Pmtcction Voluc Rates arc the co~t of i11surancc ralc:s for the Policy Protection Value calculation. The rnlc
per ~follur cqunls the rote shown below divided by 1000. ·n1c cost of insurance rates will be increased for any Addittonnl
Roting shown for thc husie policy i11 Section l. The Policy Protection Value rates are not ur;cd in eolculnting the ocn.1:il
policy value, cash surrender V.llue, or dcuth hencfi1 provided under the: policy. The Cost or Insurance cnlculntion is
defined in the Policy Value provision of the bnsic policy.

 l'OLICV       MONTIILY         POUCY          MONTHLY           l'OLICY       MONTHLY           l'OLICY       MONTHLY
  YE.AR           ltATE           VF.AR           RATE            Yt:AR           RATE            YEAR            RATE
                    s                               s                               s                                s
     I          4.055000            32          83.333300
     2          4.563600            33          83.333300
     3          5.073300            34          83.333300
     4          5.640000            35          83.333300
     5          6.282600            36          83.333300
     6          6.869500            37          83.333300
     7          7.760300            38          83.333300
     8          8.700300            39          83.333300
     9          9.713300            40          83:133300
    to         10.657100
    11         11.138400
    12         12.092700
    13         13.527400
    14         15.371900
    15         17.702400
    16         {9.973600
    17         22.373600
    18         22.79 1500
    19         24.204100
    20         26.494200
    21         29.002800
    22         31.887800
    23         35.143200
    24         38.872600
    25         43.092400
    26         47.641400
    27         52.563500
    28         57 .816000
    29         63.652000
    30         70.065900
    31         76.725600




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I. POl,ICY SPECIFlCATIONS (CONTJNIJED)- POLICY 93 902 849

                          TABLE OF ror.1cv PROTECTION VAI.IJE INTERFA<;T RATES




 POLICY                        POLICY                 POLICY                 POLICY
              l'KRCl.:NT                  PERCENT                PERCENT      Yl!:AR   rt:RCENT
  YEAR                          YEAR                   YEAR
     I          2.80             j2          1.80
     2           2.80             33         I.BO
     3           2.80             34         I.BO
     4           2.80            35          1.80
     s           2,80             36         l.80
     6           2.60             37         1.80
     1           2.40             38         I.BO
     8           2.20             39         1.80
     9           2.00             40         1.80
    lO           l.80
    ll           1.80
    12           1.80
    13           1.80
    14           1.80
    15           l.80
    16           1.80
    17           1.80
    18           1.80
    19           1.80
    20           1.80
    21           1.80
    22           1.80
    23           1.80
    24            I.BO
    25            l.80
    26           1.80
    27           1.80
    28            I.BO.
    29            1.80
    30            1.80
    31            I.BO




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     2. TABLE Ol•'GUARAN'l'F.li:D MAXIMUM COST OF INSURANCI~ RATES

                              GUARANTt;t;v MAXIMUM MONTHLY RATt:..'I l'F.lt $1,000
                                          <W NF.T AMOUNT AT RISK

           i.rn:           MAXIMUM                LU'E              MAXIMUM                 l,IFF.            MAXIMUM
       INSURED'S           MONTHLY             INSIJ!lEl>'S         MONTlll,Y           INSURED'$             MONTHLY
       ATTAINED              RA'fF.            A'M'AINl.;t)            RATE             ATTAINED                RATE
           AGE             l'ERSl,000              AGE              PF.R $1,000            AGF.               PERSJ,000
              0               0.0400                 41                0,1058                82                 4,5616
              I               0,0291                 42                O.Jl2S                83                 S,0733
              2               0,0216                 43                0.1209                84                 S.6400
              1               0.016G                 44                0.1309                85                 6.282G
              4               0.0158                 45                0.1426                BG                 6,8695
              s               0.0150                 16                0,1559                87                 7,7603
              6               0.0150                 47                0,172(,               88                 8,7003
              7               0.0175                 48                0,1910                89                 9,1133
              8               0,017S                 49                0.2110                9()               10.6571
              9               0.0175                 50                0,2344                91                11.1384
             JO               0.0183                 51                0.2603                92                12,0927
             JJ               0.0191                 52                0.2896                93                13.5274
             12               0.0225                 53                0,3214                94                153719
             13               0.0250                 54                0.3548                9S                17.7024
             14               0.0275                 55                0,3908                 96               19.9736
             15               0,0291                 56                0.432(,                97               22.3736
             16               0,032S                 57                0.4762                 9H               22,7915
             17               0.0341                 58                0.5231                 99               24.2041
             18               0,0350                 59                O.S701                100               26.4942
             19               0.0375                 GO                0.6187                IOI               29.0028
             20               0,0375                 61                0.6716                102               Jl.8878
             21               0,0383                 62                0.7295                l03               35,1432
             22               0.0400                 63                0.7892                104               38.8726
             23               0.0400                 64                0.8539                105               43,0924
             24               0.041G                 65                0.9255                106               47.6414
             25               0.0416                 66                1,0046                107               52.563S
             26               0,0441                 67                1.0915               '108               S7,8160
             27               0,047S                 68                1.1885                109               63.6520
             28               0.0483                 69                1.29S0                110               70,0659
             29               0.0516                 70                1.4125                111               76.7256
             JO               0,0533                 71                1.5481                112               83.3333
             31               0,0566                 72                1.6999                113               83.3333
             32               0.0600                 73                1.8648                114               833333
             33               0,0633                 74                2.0462                115               83.3333
             34               0,0683                 75                2.247S               116                83.3333
             JS               0.0741                 76                2.4690               117                83,3333
             36               0,0792                 77                2.7134               l!B                83.3333
             37               0.0858                 78                2,9843               119                83,3333
I
·1           38               0,0892                 79                3.2776
                                                                       3.6065
                                                                                            120                83,3333
             39               0.0942                 80
             40                0.1000                81                4.0SS0

     The roles shown above are based on lhe life insun:d's Risk Classifica1ion a.s shown on Policy Specifications page 3.0B.
     The above rates will be adjusted for any Additional Rating shown in the Policy Specifications section.

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                                                                                                       I••••

3, DIWINITIONS            .'

'J'Hll FOLLOWING 'J'cRMS HA VE SPECll'JC McANINGS IN YOUR POLICY.                              PLllASH REH:!! TO THE
Dlll'JNITIONS AS YOU l~cAD YOUJ~ l'OJ,ICY,

Addilional Rating is un incrcusc in the Cns1 or lnsurnncc rhnt is npplied when n lite Insured dncs not n1ec1,         111 11
minimum, our underwriling requiremcnLs for the stnmltml Risk Classi!1cuti1111.

Age 111c1111s 11gc nn rhe hhthtkty neurcst to the Policy !Jute,

Allnlned Age nn ;my dnte means the Age plus the number nfwholc yeurn thut huvc elapsed since the Policy Onto,

Du.~incss Day is uny <11110 on which we urc open for husines.<,

Cnsh Surrender Vnluc cquuls the Policy Vuluc lc.•s chc Surrender Churgc und uny outstunding Mnnrhly Deductions due.

Date mcuns u cnlcmlur duy ending ut midnight lucul time ut our Service Office.

Guaranteed Interest Account is thut purt nf the Policy Vnluc which reflects the vuluc you huvc in our general uc-cnunt.

Issue Dote is the dutc shown in the Pnlicy Spcciticutinns section from which the Suicide llxclusion and lncontest11hility
provisions urc upplicd.

Lonn Account is thar pmt nf the Policy Vulue which reflect, amounts trunsferred frnm the Ouurunrced lntcrc.,t Account
us colluterul for u Policy Lmm,

Lonn Dlfferentinl is the difference between the mre ut which Joun interest is churgcd und credited, It is the unnuol cost
of keeping u loon. The Maximum Lmm Dilfcrentiul is shown in the Polley Specifications section.

Net Cash Surrender Vnlue ~~ the Cush Surrender Vntue less the Policy Debt.

Net Premium is the gross premium puid less uny Premium Charge,

Planned Premium is the umount shown in the Policy Specificutions section thut is selected in the npplicullon for the
policy.

Policy Date is the dute from which charges for the first Monthly Deduction urc cnlculatcd. The Policy Date is shown in
the Policy Specifications section of this policy. Policy Yeurs, Policy Months and Policy Annivcrsuric~ ore dctcnnined
from the Policy Dute.

Polley Debt us of any dnte equals (u) plus (b) plus (e), minus (d), where:

(u)   is the totul umount of louns borrowed us of such dutc;

(h)   is the total amount of any unpuid loan interest churges borrowed uguinst the policy on a Policy Anniven;ury;

(c)   is ony interest churgc.• ucerucd from the lust Polley Anniver,ary to the current dote; and

(d)   is the totul amount of loan repoymenL~ us of such date.
                                                                                                               (continued)


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3, DE111NITIONS (CONTINUED)
Policy Vnlue Is the sum of the values in lhc Loan Account und the Guunmtccd llllcrc~t Account,

Service Office is the office that we dcsignutc to service this policy us shown 011 the back cover of your policy,

Surrender Charge Period is the period beginning on the Policy Dale during which we will u.~scss surrender charges.
Surrender charges will upply during this period if you surrender the policy, rcqucsl u decrease in ruce Amount, make a
pnrtiul wilhdruwal, or if the policy tcrminutcs due to dcfuull. The Surrender Charge Period is shown in the Policy
Spcciticutions section.

Wrillen Request is your request    10   us which must he in u form satlsfuetory to us, signed nnd dated by you, und filed   111
our Service Office.

4, INSURANCE BENEFIT
If the life insured dies while the policy is in force, we will pay the lnsurunce Benefit within two months of receiving due
proof of death, subject to the Misstatements Of Age _And Sex, Suicide Exclusion und Incontestability provisions.

If the life insured dies after we receive a request from you to sun·cndcr the policy, there will be no ln.su111ncc Benefit. We
will pay the nmount payable under the Surrender und Withdrawals provision Instead.

Insurance Benefit, The lnsuruncc Benefit payable is:

(n)   the Death Benefit us described below; plus

(b)    any amounts pnynble under any Supplementary Benefits as u result of the life insurcd's death, that form purt of the
       policy; less

(c)   tho value of the Policy Debi ut the dote of death.

lfthc life insured dies during a grace period, the Insurance Benefit payable described above will be modified as follows:

(u)   the Insurance Benefit will be reduced by uny outstanding Monthly Deductions due; und

(b)   the Policy Value used in the calculution of the Dcuth Benefit will be the Policy Vulue as of the default date.

Death llenent, The Death Benefit will depend on whether Dcnth Benefit Option I or 2 Is in effect on the dote of death.

Under Option I, the Dcuth Benefit is the Fucc Amount of the policy ut the dutc of the life insurcd's death,

Under Option 2, the Death Benefit is the Face Amount of the policy, plus the Policy Vuluc u1 the dute of tho life lnsurod:s
death.
The Death Benefit after the life lnsured\Attained Age 121 is the some as defined in this Death Benefit section.


                                                                                                                    (continued)
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4, INSURANCE BENEFIT (CONTINU!:iD)
If ,my partial withdmwuls ure made, !he Death Benefit, whether It is Option I or 2, wiJl be less than it would .be if mi
withdruwuls were mude. The withdruwul will reduce the Death Benefit by reducing:

(u)   the Face Amount of insunmce if Dc1llh Benefit Option I is in effect, us specified in the Surrender ond Withdruwnls
      provision; or

(b)   the Policy Vu!uc if Dc-dth Benefit Option 2 Is in effect.

Minimum Death Benefit. To ensure thut the policy continues to qunlify as life insurance under the lntcrnnl Revenue
Code, the sum of the Death Benefit us described ubovc und the Benefit payable under uny Supplementary Benefits us 11
result of the life insured's deuth, will never be lc.s.< thun the Policy Value ut the dole of dcnth, multiplied by the Minimum
Dcuth Benefit Percentage for the Attained Age of the life insured u.~ shown in the table below.
                                     Table of Minimum Death Benefit Perce11tages
                                     Attained Age                  Applicable Percentage
                                     40 and under                           250%
                                           45                               215%
                                           50                                185%
                                           55                                150%
                                           60                                130%
                                           65                                120%
                                           70                                115%
                                           75                                105%
                                           90                                105%
                                      95 and ubove                           100%
                            For age.~ not shown, the Applicable Percentage can be found by
                            rcducimr the above Annlicable Percenta2es orooortionatelv.
5,JNTERESTON PROCEEDS
We will pay the lnsurnnce Benefit in one lump sum including interest as stipulated by the state, If the state does not
specify the Interest mte we will use the rate for insurance benefits left on deposit with us.

6, PAYMENT OF PREMIUMS
The Minimum Initial Premium is shown In the Policy Specificutlons section. The policy will not be in effect until the
Minimum Initial Premium is received.

Subseqvent premiums may be paid ut any time at our Service Office or to the ugcnt who services your policy. Payment
may be in wiy amount subject to the Limits described below. On request, we will give you a receipt signed by one of our
officers.

You may pay premiums until the life insured reaches Attained Age 121, at which time, Monthly Deductions cease. No
further premiums muy then be paid.                                                '
Subject to our maximum limits then in effect, you may pay Premiums in excess of the Planned Premium while ·the policy
is in force. The Maximum Annual Premium payment in any Policy Year ls shown in the Policy Specificntions section.
Upon request, we will consider waiving this restriction.


                                                                                                                 (continued)

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     6•.PA\' MENT OI~ PREMIUMS (CONTINUED)

  Liniits. The provisions of this rolley w-c 10 be interpreted 10 ensure or maintain quuliticutinn tis u lif'c insumnce conlntcl
  for federal income tax rurposcs, notwithstunding uny other provlsimrn to the contrary. If' ut ul1y lime the premiums
 received under the Policy exceed the umount allowublc for such tux quulitication, such excess :mmunt shall be removed
 from the policy us of the dole of its payment, together with investment interest tliercon from such dote, und :my
 uppropriute udjustmcnt In the Dcuth Benefit shall be made us of such dote. This cxcc.~s amount (plus or minus uny
 investment interest) shall be refunded to you no later thun 60 duys after the end of' the upplicu~lc Policy Year. If this
 excess nmount (plus or minus any investment interest) is not refunded by then, the Dcuth Benefit under the policy shall
 be incrcuscd rctrouctivcly so that ut no time is the Death Benefit ever less than the amount necessary tn ensure or
 maintain such tax qualification. In no event, however, will we refuse to accept uny premium nccc.~sary to prevent the
 policy from lapsing in uccordunce with Section 7. In the cusc of ccrtuin other tux pmblcm.s, we will process the puymcnt
 or portion on the first Buslncs., Duy uficr we huve received written instmctions sutisfuctory to us from you to process
 such puyment or portion notwithstanding the existence of the tu~ problem,

 Continuation of Insurance Upon Discontinuance of Premium Paymenls. If you discontinue paying premiums, we
 will continue tuklng the Monthly Deductions due from the uccumulutcd Policy Value. Your insurance coverage will
 continue subject to the Grace Period und Policy Tcrminution provisions of this policy,

 7, GRACE PERIOD
Default. This policy will go into default if, nt the beginning of any Policy Month, the Net CtLsh Surrender Value would
go to or below zero after we tnke the Monthly Deduction thut is due for that month.

Grace Period Duration. We will allow 61 days from the dote the policy goes into default, for you to pay the amount
that is required to bring the policy out of defoult, At least 30 days prior to the 1em1i11ation of coverage, we will send u
notice to your lust known address, specifying the umount you must puy to bring the policy out of default. If we hove
notice of a policy assignment on file at our Service Office, we will also mail u copy of the notice of the amount due to the
assignee on record,                                                                        ·

The amount required to bring the policy out of default is cqunl to (n) plus (b) plus (c) where:

(u)      is the amount neccssaiy to bring the Net Cash Surrender Value to zero if it is less than 1.cro, ot the dute of default;

(b)     is the Monthly Deduction due on the dutc of default, plus the next two Monthly Deductions:

(c)     is the applicable Premium Charge.

When payment is received, any expense charges which arc paNI due and unpaid will be immediately deducted from the
Guaranteed Interest Account.

8. POLICY TERMINATION
Termination Date. This policy terminates on the earliest of the following cvcntq;

(u)     the end of the grace period for which you have no~ paid the amount necessary 10 bring the pqlicy out of dcfuult;

(bl     surrender of the policy for its Net Cash Surrender Value;

(c)     the death of the life•insurcd,



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9, REINSTATEMENT
If the policy tcnninntcs 111 the end of II grace period in which you did not mnkc II required pnymcnt, the policy may he
rclnsmtcd within 3 yeurs From the dnte of dcfuult. The policy cannot be reinstated if it has been surrendered for its Net
Cnsh Surrender Vuluc.

The requirements For reinstutcmcnt ure us follows:

      (I)    we must receive Written Request for rclnslutemcnt:

      (2)    we must receive evidence of insur-Jbility sutisfuctory to us for the life insured, nnd for those insured under
             any rider thnc you wish to reinstate;
      (3)    we must receive u premium equul to the umount thut wus required to bring the policy out of .default
             immediately prior to tennlnution, plus the amount needed to keep the policy in force to the next scheduled
             date for payment of the Planned Premium.

Requirements (2) and {3) must be sotisticd within 60 days ufccr the dote we receive Written Request for reinstatement.

If we approve your request,

(a)   the reinstatement dutc will be the date we receive the required payment at our Service Office;

(b)   uny Surrender Churgc will be rcinsmccd 10 the umount it wus oc the dutc of default;

(c)   the Surrender Charge period, if ony, will he the same as on !he date of default;

(d)   the Policy Value on the dote of rclnstotcmcnt, prior to the crediting of any Net Premium paid on the reinstatement,
      will be equal 10 the Policy Value on the date the policy tcnnlnotcd.

10, POLICY CONTINUATION AT ATTAINED AGE 1:21
Provided the policy is in force at the life insured's Attained Age 121, we will continue the policy subject 10 the following:

(a)   we will not accept any further premium payments, only loan repayments;

(bl   new lonns arc allowed to be token at and ufter the Life lnsurcd'N ogc 121:

(c)   Monthly Deductions for expense charges listed in the Policy Specifications section will be discontinued;

(d)   we wi!l continue to credit interest monthly to your Policy Vulue;

(e)   interest on any Policy Debt will continue to accrue:

(I)   the Death Benefit is the ~ame us defined in Section 4 of your policy.




                                                                                                                  (continued)


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10. POLICY CONTINUATION AT ATTAINED AGE 121 (CONTINUED)
Dcfoull Arter Atloincd Age 121, The policy will go into defuuit ut uny time the Policy Debt exceeds the Policy Value.
At lcust 30 duys prior to the termination of covcrngc, we will send a notice to your lust known address specifying the
umoum you must puy to bring the policy out of dcfouit. If you had filed u notice of t1Nsi1,'llmcnt with us, we will ·u lsu send
a copy ot' the notice to the lust known address of the assignee on record, Payment of the loan Interest during the 61-duy
grucc period will bring the policy out of default.

11. POLICY VALUE
Premium Pnymenls. When. we receive your premium payments ut our Service Office, we subtract the Premium Charge
shown in the Policy Specifications section. We add the balance (the Net Premium) to the Ouumntccd Interest Account
after any deductions due on that day arc foken from your Guaranteed Interest Account. However, we will add uny Net
Premiums received before the Policy Dute to your Guaranteed Interest Account us of the Policy Dute.

Monthly Deductions, At the beginning of cuch Policy Month u deduction is 1uke11 frum your Ouuruntccd lntel'est
Account. Monthly Deductions urc calculated from the Policy Date. If you requested u Policy Date which precedes the
dute on which we receive the initial premium, Monthly Deductions due for the period prjor to receipt of the initial
premium will be taken on the dale we receive the initinl premium.

Monthly Deductions arc due until the Policy Anniversary on which the life insured reaches Attained Age 121. If the
policy is in force on that date it will remain in force, without further premium puyments or Monthly Deductions, subject
to the Policy Loun Conditions provision.

The Maximum Monthly Deduction for any Policy Month ls the sum of the following charges detcnnincd ut the beginning
of thut month:

(a)     the Administrative Charge shown in the Policy Specifications section;

(b)     the Contract Charge shown in the Policy Specifications section;

(c)     the Coverage Expense Charge shown in the Policy Specifications section;

(dl     the Cost of Insurance Charge; and

(el     uny applicable charge for uny Supplementary Benefits you have added to your policy.

Cost 'oC Insurance Charge, The rates for the Cost of lnsur.uice arc based on the life insurcd's Age, Sex, Risk
Clussificntion, and duration that the coverage has been in force. They ure based on our expectations ,of future mortality,
persistency, investment earnings, expense, and tax assumptions us well as cnpitui and reserve requirements.

The Cost or lnsuruncc Charge for a specific Policy Month is the charge for the Net Amount at Risk. The charge for the
Net Amount at Risk is an amount equul to the per dollar cost of insurance rate for that month multiplied by the Net
Amount at Risk. The Maximum Co.st of Insurance Rules ut any age is shown in the Tuble of Ouumnteed Maximum Cost
of Insurance Rates in section 2 as a rate per $1,000 dollars of insurance. These rates per $1,000 will be increased for any
Additionol Rating shown, in the Policy Specifications section. To get the maximum rate per dollar of insurance the rate
shown must be divided by IOOO. Each Cost of Insurance Charge is deducted in advance of the .insurance coverage 10
which it applies.


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 11. POLICYVALUE{CONTINUEDJ
 The Net Amount ut Risk is the nmount dctcnnined by sub1r11c1ing (n) fmm the greater of(h) ur (c) where:

 (n)   is the Policy Vulue aq of the first duy of the Policy Month nfter the deduction of ull chnrges:

 (b)   is (i) the Fuce Amount of insuruncc a~ of the tirat day ot' the Policy Month, divided l!y the Death Benefit Discount
       Fuctor shown in the Policy Specifications ~-cction for Death Benefit Option 1: or (iii the Fncc Amount of insurance
       ns of the firat duy of the Policy Month, divided by the Death Benetit Discount !'actor shown in the Policy
       Specifications section plus the Policy Vulue us of the. first duy of the Policy Month after ·the deduction of nil
       chnrges for ~enth benefit Option 2: und

 (c)   is the amount defined in (a) multiplied by the Minimum Deuth Benefit Percentage for the life ln.qured's Attained
       Age as shown in the Table of Minimum Death Benefit Percentages in Section 4.

The Cost of Insurance calculation will reflect any supplementary death benefits which arc port of the policy nnd any
adjustment for the Minimum Death Benefit.

We review our Cost of lnsurunce rates from time to time nnd may re-determine Cost of Insurance rates nt that time on a
basis that docs not discriminate unfairly within uny cluss of lives Insured.
                               '
Other Deductions. We will deduct u Surrender Charge if during the Surrender Charge Period:

(a)    you surrender the policy for its Net Cash Surrender Value:

(b)    you make u partiul withdruwnl of the Net Cush Surrender Value:

(c)    you decrease the Fnce Amount of insurance; or

(d)    you do not pay an nmounr due at the end of u grace period, and your policy terminates.

See the Surrender and Withdrawals provision for details.

 12, POLICY VALUE COMPOSITION
Your Policy Value ut uny time is equal to the sum of the values you have in the Loan Account und the Ouurunteed
Interest jl.ccount.

Loa11 Account Value, The amount you have in the Lonn Account at.any time equals:

(a)    amounts transferred to it for loans or borrowed loan interest; plus

(b)    interest credited to it: less

(c)    amounts transferred from it for loan repayment.

For the details of the Lonn Account sec the Policy Loan Conditions provision.


                                                                                                              (continued)



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 12, POLICY YALU~ COMPOSl'flON (CONTINUl::D)
 Guoronleed Interest Account Voluc. '[be amount you huve in the Guaranteed Interest Account ul uny lime equu]s:

 (u)   Net Premiums nllncutcd to it; plus

(b)    umou,its trunsfcrrcd to It; plus

(c)    Interest cmlitcd to it; less

(d)    Monthly Deductions: less

(c).   amounLs tr.1nsfcrrcd from it; less

(I)    umounti withdr,1wn from it.

Interest will be credited to amounts in the Guuruntecd Interest Account ut on effective unnuul rote of no less than the
Guaranteed Interest Account Rate us shown in the Policy Specifications section. The uctual rotes used will be set by us
from time to time. f'or all tr,111suctions, interest is caieulotcd und credited from the date of the transaction.

13. POLICY LOAN CONDITIONS
At any time while this policy is In force and has un avuilabie Joun vuluc, you can get a loan by Written Request. We may
require u loan agreement from you as the policy is the only security for the loan.

Avoiloblc Loon Value. The available loan value on uny dute is the Net Cush Sun-ender Value, less estimated interest and
the Monthly Deductions due to the next Policy Anniversary,

Loan AccounL When you tuke out u Joun, or when loan interest chargc.s nrc borl'owcd, we will do u transfer from the
Guw-untccd Interest Account into the Loun Account.

Loan Interest Charged, Interest will accrue dolly on louns. In the ovcnt thatyou do not pay the loan interest charged in
any Policy Year, it will be borrowed against the policy and udded to the Policy Debt in arrears at the Policy Anniversary.

Loon interest will continue to be charged ff there ls an outstanding loan when Monthly Deductions and premium
payments ccnse at the life insured's Attained Age 121. Prior to the life insurcd's Attained Age 121, the policy will go into
default 01 any time the Policy Debt exceeds the Cush Surrender Value. After this date the policy will go into default at
any time the Policy Debt exceeds the Policy Value. We will allow 61 days from the date the policy goes into default for
you to puy the amount thot is required to bring the policy out of default. At least 30 days prior to termination, we will
send o notice to your lost !mown address. If you hud filed o notice of assignment with us, we will also send a copy of the
notice to the lust known address of the assignee on record. Payment of the loan interest during the 61-day grace period
will bring the policy out of defaull.

The loon interest rate is variable. It will be set each year at your Policy Anniversary and it will not change during the
year.



                                                                                                               (continued)




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13, POLICY LOAN CONDITIONS (CONTINUED)
The loon interest rote ehurged will not ci,;cccd the lesser of (a) or (bl, where:

(u)   is 15% per unnum; or

(b)   is the grouter of:

      (i)      the Guunmtccd Interest Account Rutc shown in the Policy Speciticutions section plus I% per onnum; or

      (ii)     the Moody's Corporate Bond Yield Averugc-Mon1hly Avcruge Corporates for !he cul~ndur month ending
               two months before the beginning of the monlh in which your Policy Anniversary fulls. For example, if
               your Policy Annivcrsury is in April, we would use the Avcrugc for January.

      If the Average is al leust one-half of one percent smaller 1hun the r~lc we have set for the previous Policy Yem·, we
      will reduce the rote lo a rule no more thun lhut Averuge. If the Average is 111 least one-hulf of one percent greater
      thun the rate we hnve set for the previous Policy Ycur, we will inereuse the rate lo n rntc no more thun 1h01 A veruge.

      Moody's Corpomle Bond Yield Average-Monthly Averugc Corporutcs referred to above is published in the United
      Stutes by Moody's Investors Service, Inc. In the event it Is no longer published, we will use n similar nverugc
      published by another United Stntcs bond roting agency.

Lonn Interest Credited. Interest will occrue doily to amounts In the Lonn Account. The r~te credilcd wiil never be less
1hnn the loan interest rate charged less the Lonn Differential. The Maximum Laun Differenlial Is shown in the Policy
Spccificu1ions section.

Loan Repayment. You may repay the Policy Debt in whole or In part at any time prior ta the death of 1he life insured,
and while the policy is In force. When you repay u loan, we will transfer an amount cqunl to the amount repaid, less the
loun interest differential for thot repayment, from the.Laun Account to the Guaranteed Interest Account.

While o loan exists, we will treat any amounts you pay us premiums, unless you request in writing that they be treated us
loan repayments.
This pollcy will tenninnle if the value of the Lonn Account exceeds the Cnsh Surrender Value. At Ieust 31 duys prior to
the tenninolion we will mail a notice to you ut your lost known address. If you hod filed 11 notice of assignment with us,
we will ulso mail the notice to the Inst known address of the assignee on record.

14, SURRENDER AND WITHDRAWALS
Surrender of the Policy, Ynu muy surrender this policy for its Net Cush Surrender Value ut nny time prior to the deuth
of the life insured. We will determine the Net Cush Surrender Value at the end of lhe doy on which we receive the policy
nnd your Wrilten Request for surrender ut our Service Office. After we receive your surrender request, no insurance will
be in force.
The Cash Surrender Vulue within 30 days of uny Policy Anniversary will not be less than the Cash Surrender Value on
that Anniversary.
During the Surrender Charge Period, we will deduct a Surrender Charge from your Policy Value if you surrender the
policy for its Net Co~h Surrender Vulue or If it terminates ot the end of u grace period. Sec the Policy Spccificutions
section.
                                                                                                           (continued)

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14. SURRENDER AND WITHDRAWALS (CONTINUED)
Partial Ncl Cush Surrender Vnluc Withclrownl, Onc.;c per Policy Molllh, uftcr the first Policy Anniversary, you may
requc.~t a partiul Net Cush Surrender Value withdrawul provided there is u Net Cush Surrender Value for the policy. 1-'or
euc.;h withdruwul we reserve the right lO charge u Withdrawal Charge us shown in the Policy Specifications section. The
withdruwul will he mudc 1L-. nr the e11d of the duy on which we receive your Written Request und will reduce the Policy
Value. Without our prior upprovul, euch withtlruwul must be for at lc:,st the Minimum Withdrawal Amount shown in the
Policy Spcciticutions section.

We will deduct a pro-rata Surrender Charge from the Policy Value at the time of the partial net cash surrender V-Jlue
withdruwal.

The pro-rata Sui,·cnclcr Charge for the initial 1-'acc Amount will equal (a) divided by (b), multiplied by (c), where:

(u)   is the amount of the partial Net Cash Surrender Volue withdrawal;

(b)   is the Net Cash Surrender Value prior to the withdrawal; and

(c)   is the to!Ul current Surrender Charge prior to the withdruwul.

The Surrender Churge will be reduced by the amount of any pro-ratu Surrender Charge imposed. We will inform you of
the remaining Surrender Charge.

If Death Benefit Option I is in effect at the time of the withdmwol, then the Face Amount of insurance will be reduced:

{u)   by the amount of the Net Cash Surrender Value withdrawal , if ut the time of the withdrawal the Death Benefit
      equals the 1-'uce Amount; otherwise

(b)   by the amount, if any, by which the Net Cush Surrender Vulue withdrawal exceeds the difference between the
      Minimum Death Benefit and the Face Amount, divided by the applicable Minimum Death Benefit Percentage for .
      the life insured's Attained Age os shown in the Tobie of Minimum Deoth Benefit Percentugcs in Section 4.

Partial Net Cash Surrender Value withdrawals do not offccc the Face Amount of your policy if Death Benefit Option 2 is
in effect.

15. CHANGING THE DEATH BENEFIT OPTION OR DECREASING THE FACE AMOUNT
General Conditions. You rnuy change your Dcuth Benefit Option or dcc rcusc your Face Amount of ·insumnce by
Written Request. Such changes arc subject to the conditions of this provision.

The following gcnernl conditions opply to the changes under this provision:

{o)   changes to your Death Benefit Option und Fuce Amount Decreases muy be made ut ony time ofter the first policy
      ycur;

(b)   any such change will toke effect at the beginning of the Policy Month following the dote we approve the rcquc.~t;

(c)   we reserve the right to limit any changes that would cause this policy to fuil to qualify us life insurance under the
      Internal Revenue Code.

You may not increase your r uce Amount of im,urance under this Policy.
                                                                                                                   {continued)


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15, CHANGING THE DEATH DENEFIT OPTION OR DECREASING THE l~ACE AMOUNT (CONTINUl:iO)
Change from Death Benefit Option 1 lo Option 2

                  ,,F
The Puce Amount insuruncc nfter the change from Option I to Option 2 is equal to the base race Amuunt immcdintcly
before the chungc minus the Policy Vulue on the effective date oflhe change,

Puniul Net Cush Surrender Vuluc withdmwals do not uffci:t the Face Amount of your policy if Dcuth Benefit Option 2 is
in effect.
A decrease in Fncc Amount caused by u chnngc from Death Benefit Option I to 2 will incur the Pro-R111u Surrender
Chm·gc described below.

We will not ullow the chunge in Dcuth Benefit Option if it would cause the Puce Amounc to dccrcnse below the Minimum
Face Amount shown in the Table of Values In the Policy Specifications section.

Change rrom Death llenent Option 2 to Option l
The Face Amount of insurance after the change from Option 2 to Option I is equal to the same bnsc Fnce Amount thnt
was in force immediately before the effective date of the change.

Decrease In Face Amount. The Minimum Fnce Amount Decrease is shown in the Policy Spccificutions section.

We will not allow a decrease if it would cause the Face Amount to go below the Minimum Fucc Amount shown In the
Policy Specification.~ section, unless the decrease is the result of u partial net cash surrender value withdrawal,

Pro-Raio Surrender Charge. If you dccreuse the Face Amount of insurance while the Surrender Charge is npplicnble,
or if there is u decrease in Fncc Amounl'causcd by o change from Death Benefit Option I to 2 while the Surrender Charge
is applicable, we will deduct a pro•rata Surrender Charge from the Policy Value,

The pro-rota Surrender Charge deducted will equal (u) divided by (b), multiplied by (c), where:

(a)   is the amount of the decrease in the base Face Amount;

(b)   is the amount of the base Fuce Amount Immediately prior to the decrease; and

(cl   is the current Sun·endcr Charge for the base Face Amount immediately prior to the decreuse.

Ench time we deduct the pro•ratu Surrender Charge for a Fnce Amount decrease, we will reduce the remaining Sul\Cnder
Churge in the sume proponion that the Surrender Charge deducted bears to the total Surrender Charge immediately
before the Face Amount decrease.




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16; OWNER AND.B°ENEFICIARY
Until the life lnsurcd's dcuth, withoui the consent 1ir'uny rcvocnblc bcneficiuri~s. you cun i,;ceivc uny ~nount puyuhle
under the policy und exercise ull righL, und privileges grunted by the policy.

Change of Owner. Until the life in.,urcd's de,11h, the owner cim change the ownership of the policy by Written Request.
'fhc chunge will take cff'ect us of the dmc you signed the Wrlucn Request. It will not upply to any payments we mudc or
uny action we muy have taken before we received your Written Request.
                                                                       \
Trustee Owner. Should the owner be u trustee, puymcnt to the trustcc(N) of uny umount to which the trustcc(s) is (arc)
entitled under the policy, either by death m· otherwise, will fully discharge us from all liability under the policy to the
extent of the amount so pnid.

Joint Ownership. Two or more owners will own the policy us joint tcnunLi with right of survivorship, unless otherwise
requested on the upplication or in any subsequent assignment of the policy. On death of uny of the owners, the deceased
ownc1's interest in the policy pusses tu the survlvlns owncr(s).

Successor Owner, Upon the owner's dct1th during the life lnsurcd's llfcrlmc, a named successor .owner will, if then
livins, huvc ull the owner's rights and interest in the policy. Until the life insurcd's death, the owner, without the consent
of,ony beneficiary or any successor owner, can cunccl or chanse the dcslgnulion of successor owner. This may be done
from time to time by asrecmcnt in writins with us.

'fhc following four sections will upply unless there is u beneficiary appointment in force that provides otherwise,

Denelieiary Classification. You can uppoint bcncficimics for the lnsumncc Benefit ·in three classes: primary,
secondary, and finul. Bencfieiurlcs in the snmc class will share cquully in the Insurance Benefit puyublc to thcrn ..

Payment To Deneliclarles, We will puy the Insurance Benefit:

(u)   10 uny primary   beneficiaries who arc alive when the life insured dies; or

(b)   if no primary beneficiary is then ulivc, lo any sccondory beneficiaries who ure then alive; or

(c)   if no primary or secondary beneficiary is then alive, to any final bcncficiurics who are then alive.

Change .Of Beneficiary, Until the life insured's death, you cun change the beneficiory by Written .Request unless you
make an irrevocable designation. We arc not responsible if the chansc does nol achieve your purpose. The change will
tukc effect as of the date you signed such request. It will not apply to any payments we mudc,or uny action we may have
taken before we received your Written Request.

Death Of Beneficiary. If no bencficlury is alive when the life insured dies, the Insurance Benefit wlll be payable to you;
or if you arc the life insured, to your estate. Unless otherwise provided, if a beneficiary dies before the seventh day after
the death of the life insured, we will pay the Insurance Benefit as if the bcrteficiury l\ad died before the life insured.
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17. ASSIGNMENT
Your interest in this policy may he ussigned without the consent of uny revocuble Beneficiary. Your interest, any interest
of the life insured and of nny 1·cv11Cuhlc Bencticlury shull be subject to the tenns of the 11.ssignmcnt,

We will not be on notice of ,my assignment unless it is In writing, nor will we be on notice until o duplicate of the
01iginul a.~signment has been tiled ut our Service Office. We u.ssume no responsibility for the validity or sufficiency of
any assignment.

18. MISSTATEMENTS OF AGE AND SEX
If the Age or Sex at' the life insured was misstutcd in the upplicution, we will change.the Face Amount ot'insuruncc und
every other bcnctil to that which would have been purchased at the correct Age or Sex by the most recent Cost of
Insurance charge,

19. SUICIDE EXCl,USION
If within two years after the lsruc Dute, the life insured dies by suicide, while sane or insane, the policy will tenninutc
ond our liability will be limited to:

(a)    the premiums paid; less

Cb).   uny partial Net Cush Surrender Value withdrnwnls; ond less

(c)    the Policy Debt,

We reserve the right under this provision to ubruln evidence of the manner and cnuse of death of the life Insured,

20, INCONTESTABILITY
This policy shall be incontcstuble ofter it has been in force during the lifetime of the life insured for two Policy Years
from the Issue Dote, except for policy termination, or uny provision for reinstntement or policy chnnge requiring evidence
of insurobility.
In the case of reinstutement or any policy change requiring evidence of insurability, the incontestnblc period shall be two
yeurs from the effective date of such reinstatement or policy change, The contest will be limited to only those material
misstatements made In the reinstatement application or application for policy change.

Any premium payment which we accept subject to insurobility, and any increase in the Death Benefit resulting from such
payment, shall be considered n policy change for purposes of this Section.

21. THE CONTRACT
The written npplicotion for the policy Is attached nt issue. The entire contruct between the uppllcnnt ond us consists of
the policy, such oppliention, und any riders and endorsements. However, additional Written Requests or applications for
policy changes or acceptance of excess payment muy be submitted to us after issue und such additional requests moy
become port of the policy.


                                                                                                                (continued)



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21. THE CONTRACT (CONTINUijD)
All stutements made in uny applicatio11 shall, in the absence of fraud, be deemed representations and not wummties. We
will use no ·statement made by or on bchalf<lf the lit'c insured co contest a claim under the policy unless it is in 11 written
upplicacion.

An exchange of this policy for a new policy on u different plan muy he made by ugreemcnt between you and us in
accordance with our published rules in effect at thnt time.

We reserve the right to make any changes necessary in order to keep this policy in compliance with uny ehungC!! in
federal or stnte tax laws. Ocher chnnges in this policy muy be made by agreement between you and us. Only the
President, Vice President, the Secretaiy, 01· un Assistant Secretary ol' the Company has authority to waive or agree co
change in uny resp<lct any of the conditions or provisions of the policy, or to extend credit or to make 1111 agreement for us.

22; RIGHT TO POSTPONE PAYMENT OJ," BENEFITS
We reserve the right to postpone the payment of Net Cash Surrender Values, partinl Net C:ish Surrender Valu.e
withdrawals and policy loans for up to six months from the date of request, except when used to make o premium
payment.

23. CLAIMS OF CREDITORS
The proceeds under the policy will be exempt from the claims of creditors to the extent permitted by law. These
proceeds and payments may not be ussigned or withdrawn before becoming payable without our ngrccmcnc.

24, CURRENCY AND PLACE OF PAYMENT
All paymenL~ to or by us will be in U.S. currency. We will make payments from our Service Office. We may require
proof that the person claiming ony payment is entitled to it.

25.ANNUALSTATEMENT
Within 30 days after euch Policy Anniversary, we will send you u report at no charge showing:

(a)   the Death Benefit;

(b)   the Policy Value;

(cJ   ony Loan Account balance nnd loon interest charged since the lust report;

(d)   the premiums paid for the year; and

(c)   uny further information required by law.

26. PRO,JECTION REPORT
Upon request, we will provide you with n report of projected future vulues. We will provide .one report nnnually without
charge. For additional reports yau request, we reserve the right 10 charge u reasonable foc,.not to exceed $50.




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27. TAX .CONSIDERATIONS
It i~ the intent thut this policy be consklercd ,L'I life insurance 'for tux purposes, to comply with Section 7702 of the
lntemnl Revenue Code of 1986, or uny other equivalent section of the Code. We reserve the right to moke uny n:usonahle
odju.,1111cnt.11 to the terms nr conditions of thi~ policy if it become.~ ncccssury to ullow it to quulify as life insurance.

We do not give tux ndvicc, and this provision :;houkl not be construed to guuruntcc that the policy will be trcntetl as life
insumnce or thut the tux treatment of life insurance wlll never be chungcd by the future uclions of any tax authority.

Your qunllfying status rothcr thnn the lnsuronce policy Is the controlllng factor os to whether your Insurance
proceeds will receive tox fnvorcd treatment. After AUnined Age 121, the policy may no longer qualify ns life
lnsurnncc and may be subject to tox consequences. Plense ask o tax specialist If you hove any questions as to
whether or not you qualify.

28. HOW VALUES ARE COMPUTED
We provide Cush Surrender Values thut urc ut lcust equal to those required by law. We base minimum Cosh Sun-ender
Vulues on the Commissioners 200 I Scandurd Ordinary, Sex Distinct, Smoker Distinct, Ultimote Mortulity Table, with
substundord mtings as upplicoble. We ulso use these tables in determining Guaranteed Mnximum Cost of Insurance
Rotes. The Guurunteed Interest Account Rate is shown in the Tobie of Volues in the Policy Specifications Section.

The reserves held will never be less thun the Cush Surrender value of the policy,

A detailed statement of the methoc.J of computing the values for this policy hos been filed with 1he lnsur..mcc Deportment
of the Stutc shown in the Policy Spccificncions section.




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                                        SUPPLEMENTARY BENEFIT
                                         POLICY PROTECTION RIDER

This rider is purrof your policy. It takes effect at the sume time us your policy. l:!xccpl where the rider provides
otherwise, it is subject to nil the provisions of your policy.

UENEFIT PERIOD

This benefit applies 10 your policy for the duration shown in the Policy Spccificotions section for this rider.

llENEFIT COST

The monthly cost of the benefit fonus part of the Monthly Deduction under your policy. It is shown in the Policy
Specifications section for this rider.

UENEFJT

This •benefit prevents your policy from going into default under the Grace Period provision of the policy pmvided
thul the Net Policy Protection Vnlue is greater thun zero, However this benefit will not prevent your policy from
going into default if the Policy Debt is greater thun zero and exceeds the Policy Value.

NET POLICY PROTECTION VALUE

This is un amount cquu! 10 the Policy Protection Vulue, described below, less Policy Debt.

POLICY PROTECTION VALUE
This is u reference value only. It is determined in the same way that your Policy Vuluc Is determined, as described
in the ·policy Value provision of your policy, except that:
(u)   the Premium Churge upplied to premiums puid will bc the Policy Protection Premium Charge shown in the
      Policy Specifications section for this rider;
(b)   the Administrative Charge und Contract Charge deducted monthly from 1hc Policy Value will be the Policy
      Protection Administrative Charge und Policy Protection Contract Charge shown in the Policy Specification.•
      section for this rider;
(c)   the Net Premium, ufter any deductions due arc taken, is applied to the Policy Protection Value rctroaciive to
      the beginning of the Policy Month in which the premium is received and Policy Protectioti Value Interest
      credits ure recalculated;
(d)   the Policy Protection Value will be credited with the Policy Protection Value lntcrc.st Rates shown in the
      Policy Spccificutions section for this rider;,
(c)   the monthly Coverage Expense Charge shown in the Policy Spccificution.s section will not be included in
      determining the Policy Protection Value;
                                                                                                           (continued)




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(I)   the rotes ,used in cnlcuhlling the Cost of lnstiruncc for the busic pnlicy und uny Supplcmentury Benefit with
      ~-uch cosr, ,ire rcpluced with the Policy Protection Value Rmes shown in Trible l or Table 2 in the Policy
      Spcciflcutions section for this 1idcr. Tuble I rJtes will apply except when the Net Polley Protection Voluc is
      not grouter thun the next Monthly Deduction us modified by this section, Tuble 2 rotes will then be in effect
      us or lhut date und will continue in effect until uny subsequent Policy Annivcrsury on which the Net Policy
      Protection Vulue is greuter thun zero, ot which time it will revert buck to the Tobie I rotes; and

(g)   the Benefit Cost for this lidcr included In determining the Policy Protection Vuluo will be the Polley
      Protection Benefit Cost shown in the Policy Specifications section for this rider.

The Policy Protection Vuluc is not used in dctcm1ining the uctuul l'olicy Vuluc, Cush Surrender Vufue or Insurance
Benefit provided by this pnllcy.

POLICY DEFAULT

Your policy will go into default ut the beginning of uny Policy Month if:

(ul   the Net Cush Surrender Vuluc is 7..Cl'O or below; and

(b)   the Net Policy Protection Value goes to 1.cro or below.                                                          <
POLICY GRACE PERIOD

We will allow 61 duys from the date the policy goes into defuult for you to pay the amount that is required to bring
the policy out of default. At least 30 days p1ior to terminntion of the policy, we will send a notice to your last
known address, spccifyins the amount you must puy to bring the policy out of default. If we have notice of a
policy assignment on file at our Service Office, we will also mail a copy of the notice of the amount due to the
o.ssignec on record.

The amount required to bring the policy out of default is the lesser of (a) or (b) where:

(u)   is the amount required under the policy Grace Period provision, plus any policy expense charges unpuid
      prior to policy default;

(bl   is the Monthly Deduction, as modified by the Policy Protection Value section, due on the date of default,
      plus the next two such Monthly Deductions.

If the amount necessary to bring the policy out of default is not paid by the end of the Policy Grace Period, then
both the policy and this rider will tenninate.

BENEFIT DEFAULT

This benefit will go into default ut the beginning of any Policy Month in which:

(u)   the Net Policy Protection Value goes 10 zero or below; or

(bl   the Policy Debt is greater than zero and exceeds the Policy Value.

                                                                                                        (continued)




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OENIWITGRACE PERIOD

We will ull1>w 61 duys from the date the benefit goes into default for you III pay the arnnunt that is required to
bring the bcnetit out of dcfuult. At leust 30 days prior to tcnninution of the benefit, we wlll send u noricc 10 your
lust knuwn uddress, specifying the amount you must puy to bring the benefit llUI Ill' default. If we have notice of u
policy assignment on file ut our Service Office, we will ulso muil a copy of the notice of the amount due to tbc
assignee on rectlrd ..

The amount required to bring the benefit out of default is equal to the Monthly Deduction, as modified by the
Policy Protection Value section, due on the dutc of default, plus the next two such Monthly Deductions.

It' the amount. necessary to bring the benefit out of default is not puid by the end of the Benefit Grace Period then
this benefit will terminate,

TERMINATION

'fhis rider tel'l11inutc.~ ut the curliest of:

{u)    Iha end of the Benefit Period shown in the Policy Specifications section for this rider;

(bl    the end of the Groce Period for which you have not paid the umount necessary to bring this benefit out of
       default;

(c)    the date your policy terminates;

(d)    the duto we receive your Written R~quest for tenninntion of this rider.

REINSTATEMENT
This rider allows for the rcinstntcmcnt of this benefit with the policy provided u payment is made equal to the
amount that was required to bring the policy out of defuult immediately prior to termlnution; plus the lesser of:

(a)    the next two Monthly Deductions from the rcins1a1cmen1 dutc; or

(b)    the next two Monthly Deductions from the reinstatement dutc, us modified by the Policy Protection Vulue
       section.

                                                    JOHN HANCOCK LIFE INSURANCE COMPANY {U.S.A.)


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                                                    ENDORSEMENT
                                       CASH VALUE ACCUMULATION TEST
This endorsement is 10 be mude only by the Company, und is uuuchcd 10 :md ,nude II part of your policy. It must be
elected on the application for the policy lo which ii Is altuchcd, and will take effect 111 the sumc time us your policy. The
test you elected Is shown in Section I. Your election cunnot be chnngcd ufter issue.

This endorsement provides un ultcmutlvc means for your policy to qualify us life insurance um.lcr the Irucmnl Rcvc1\ue
Code, If this test is elected the below sections of your policy arc amended us follows:

I. In Section 4, Insurance Benefit, the Minimum Death Benefit subsection is deleted und replaced in its entirety us
    follows:
    Minimum Death Benefit. To ensure 1h01 the policy continue.~ lo qualify ns life insunmce under the Internal Revenue
    Code, the sum of the Death Benefit us dc.~cribcd above and the Benefit payable under any Supplement:iry Bcneflu as
    n result of the life insured's dcuth, will never be less than the Policy Value DI the date of dClllh, multiplied by the
    Minimum Death Benefit Factor for Che Auaincd Age of the life insured. The Minimum Oenth Benefit Factors urc
    shown in the Policy Spccificntlons (Section I) on Page 3.2A.

2. In Scction·6, Puyrncnt of Premiums, the 4•• purugruph is deleted and replaced in its entirety as follows:
    Subject to the. limitations of the life Insurance qualification test you elect nnd lo our maximum limits then in effect,
    you may pay Premiums in excess of the Planned Premium while the policy is in force. We may require evidence of
    insurability for any such excess premium thut results in Dn incrcDse in the Death Benefit. The Maximum Annuul
    Premium payment in any Policy Yeur is shown in the Policy Specifications section. Upon request, we will consider
    waiving this restriction,

3. In Section 11, Policy Value, item (c) of the Cost of lnsur,rnce Charge subsection ls deleted and replaced in its entirety
   as follows:
    Costof Insurance Charge,
    (c)  is the amount defined in (a) multiplied by the Minimum Death Benefit Factor for the life insured's Attained
         Age as shown in the Tobie of Minimum Death Benefit Factors in Section I on Page 3.2A.

4. In Secilon 14, Surrender nnd Withdrawal, paragraph S, item (b) of the Partial Net Cash Surrender Value Withdrawal
   subsection is deleted and replaced in it.s entirety as follows:
    Partial Net Cash Surrender Value Withdrawal,
    (b) by the amount, if any, by which the Net Cash Surrender Value withdrawal exceeds the difference between the
          Minimum Death Benefit nnd the Face Amount, divided by the opplicuble Minimum .Death Benefit Factor for
          the life insured's Attained Age os shown in the Tobie of Minimum Death Benefit Factors in Section 1 on Page
          3.2A.

                                                         JOHN HANCOCK LIFE INSURANCE COMPANY (U.S.A.)


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    Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 64 of 93




93 902,849                                                                    NS   N
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APPL1CATfON SUPPLEMRNT
                                     JOUN HANCOCK LIPE tNSURANCE COMPANY IU. S, I\, )
                                               HEAD OFFICE: 2 00 BLOOR STRE~"l' EAST
                                                          TORONTO, CANJWA M4W 185

TWO COPIES OF THJS FORM MUST BE StONED BEf'OIIE THIS POLICY IS DE:LIVERED

POLICY NUMBER:        93 902 849                                  REGISTER,    20920

ON Tllfl   LIFE OF:   MARY GR6HR
JOHN     HJ\NCOCK LIFE INSURANCE COMPANY (U,S,A,)     IS REQUESTED TO HAKE THE FOLLOWING '·
l\llDITlONS, CORRECTIONS AND AMENDMENTS IN THE APPLICATION DATED JM 29, 2008.              IT
IS AGREED THAT THEY ARE TO BE OF THB SAME EFFECT AS                IF CONTAINllD   IN TUC
APPl,ICATION,
ANSWERS TO THE FOLLOWING QUESTIONS OF THE APPLICATION SHOULD READ:
l9A • NO
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THIS POLICY IS ISSUED WITH CASK VALUE ACCUMULATION


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SIGNATURE OF PROPOSED
LIFE INSURED (ANNUITANl'l
                                                __   d --- - - - - - - -------
                                               SIGNATURE OF APPLICANT IF OTIIBR THAN
                                               PROPOSED LIFB INSURED (ANNUITANT']
MARY GRBBR                                     WrLLllM ORSER




FORM 856
     Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 65 of 93




                                       EXHIBIT "F"

                                       Copy of letter to
                            JOHN HANCOCK LIFE INSURANCE COMPANY
                                     dated April Ii, 2019




Z:\Orcc4SB7\Pct0ec:U. wpd
     Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 66 of 93


                                                              .'
                                                                     THE LAW OFFICes
                                                                             Of    .
                                                        LEONARD S. ROTH, P.C.
                                                               A PllOl't:SSIONAL CORPORATION

                                                          ~~,,.,~ a,r,/~a/f.Xk-lJ al }l;:u,
                                                                  www.LeonordSRolh.com
                                                                4265 SAN FELIPE. SUITE 500
                                                               HOUSTON. TEXAS 77027-2988
                                TELEPHONE: (713) 622-4222                                      FACSIMIU: (713) 622-4227




JOI 1:S: H .\:--l:OCK 'L I FE. l.,s·1.:;P.,_.\:':Cl:·CCJ.\I P.-\'.\ \'                                                           \' I.-\   r:.\X ·&-
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           .\lrs. Greer \\'<15 che " Life Insured " nt the ti me o f ;v{r. Greer's death. She sutYi\·cd her son by
almost eight ( 8) months. Th~ Estate is thus the beneficic11;-· of The Policy.
    Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 67 of 93

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April 11, 2019
Page 2



        Under Chapter I I03, Section I 103.152(c) of the Texas Insurance Code, it states:

        "If there is' not a contingent benejiciC1ry emitled to receil'e the proceedr o.(CI life
        insurance policy, or contract under subsection (ct). thr: I1eares1 relatire (!f the
        insurance is·entitled to recelre those proceecl.f". See Exhibit "B".

         In the case al hand.-Marilyn is the sole sun'i\'ing family member and the "11eare,1·1 re/mire"
10 the insured and the beneficiary, Consistent 11'i1h recognizing the Estate as the beneficial')' of the
proceeds of Mr. Greer"s policy; John Hancock sent the attached IRS Forni I099 on interest income
accumulated on the proceeds of The Po!ici' to the ",\/a,;i- B. GreerE.1·/ate" for the tax year 2018. See
Exhibit "C".

        Subsequent to the abol'e May 21. 2018 letter from yom company. 1vlnrilyn received another
letter dated July 3 I. 20 I8 which erroneously stated that the insurance proceeds "'ere "due 10 rhe.·
Estme c/ff'il/iw11 (ir,:er". See Exhibit "0", This conclusion has no basis in l'act."The Policy terms
nor Texas lnw'as set fonh nhO\'e. lfThe·Policy term~ are followed,, tlifproceeds are pa)'able to_.the
Estate. If 't'exas lall',is-follo,1·ed .. it is paid to the only li1•ing relati1·e. Marilyn. In either-el'ent.
Maril,'n .1. Greer. indh·idualh"·and/oras·the sole bencticiarl' ofth.: Estate is entitled to the inslirailce
proce~ds or Tl1~ Po lie)·.       •                                ·            ·                      .. ·

        Pursuant to the requirem.:nts or the May 21.2018 letter. pleiise fillll enclosed:

        I.       ,A c,:rtitiecl copy of the I.etterTestamenh\r{issi1ed to_Maril)'i1 J. Grc<::r in her capadt)'
                  ns independent executrix ot'the Estate \1t' Mary B, Greer. Deceased.

                 A completed Statement of Claim for Death Benefid9rrn sig_ned ciff•by Marilyn,..

        3.       Completed    vJ:9 Form \\'ith the TIN of the Estate.
                 Cancelled.Estate check.
        "·
        5.       Authorization from Maril)'n J. Greer ·to the undersigned          to pmsue the claim for
                 proceeds of The Policy on her behalt'.
      Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 68 of 93

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                      . .
JOHX. HANCOCK LIFF. INSL'RA~CE CO,\IPA;'(Y,
                                  .
April I I. 2019
Page 3



       Demand is herein made for the pavment of the insurance proceeds of policy no. 93 902
849 to Mnrilvn J. Greer in her capacity as independent executrix of the Estate of Man· B.
Greer. Deceased. Should any questions arise. please contact lhe undersigned.

                                              Very trul}· your's.

                                              THE LAW OFFICES OF LEONARD S. ROT!-1. P.C.


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                                                     f C.eonard S. Roth


cc:      Ms. Marih·n .1. Greer ("'/encl)
    Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 69 of 93

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JOH\.H.-\~COCK LIFE [:SSL'R.-\:--:CE CO,\IP.-l.'.'s\"
April 11 ...2019
Pag~ 4




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                 MARILYN JJGREER         i
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                 HOUST0::-1 TX 77021-1139

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                 Dear M:ui.Iyi{ Greer.:
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                 RE:               folicy No. ,93 902 849 La,~red(i): Mary.Greer
                                   yobn Honcocl< Life lnsu ralj,.c Compa11y (U.'S.A.)

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April 11. 2019
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    Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 74 of 93
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     Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 76 of 93

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           Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 77 of 93


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                i               ':le                    Diane Trautman .
                                       COUNTY CLERK, HARRIS COUNTY, TEXAS
                    ·er.r.~"- *           PROBATE COURT$ DEPARTMENT


              In Matter of Probate                             {
                                                               (       Docket No. 467380
              County Probate Court No. 3                       {
                                                               { In the Estate of: Mary B. Greer,
              Harris County, Texas                             { Deceased



                                                  LETTERS TESTAMENTARY

Know all men by these presents that it is hereby certified:

    I. On July 17, 2018, Marilyn J. Greer was duly appointed by order of said court as Independent Executor,
       of the Last Will and Testament of Mary B. Greer, Deceased;
                                   '.·.

    2. On July 17, 2018, said Independent Executor qualified as the law requires;

    3. Insofar as the records in my office 1;°ho,v, said Independent Executor is still acting in said capacity,


Witness rny hand and seal of said i:<Jurt, a\"_l-l011ston, Texas,A_1i' Ap1:il.08, 2019.


         (SEAL)                                                                     Diane Trautman, County Clerk
                                                                                    County Probate Court No. 3
                                                                                    20 I Caroline, Room 800
                                                                                    Harris County, Texas



                                                                                    Andrea Guzman
                                                                                    Deputy County C(erk




                                       P.O. Box 1525   o Houston, TX 77251,1525 o    (713} 274-8585

                                                             www.cclerk.hctx.net

        Form No.1•02·215 (Rev. 09/16/2016I                                                                     Pagel ofl
                          Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 78 of 93
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                                                                               Statement of Lost Policy

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        Phone No                                                         Number .1•~·••.; .. ;:, .... ·

 Section B • Service Re uest • Please select a ro riate instruction
Please send me tne following (check or.e box}
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OR
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!Section C• Signatures
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                     . John Hancock life & Health Insurance Company,;• herein cone-cllvely
Valhalla. N_Y 10595 aad                                                         .          refmed to as John Hancock.
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                     Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 80 of 93
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  Form           W=®                                                    Request for Taxpayer
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 (Rev. Octobe, 201a,
  Depanme,it of Che Treasury
                                                              Identification Number and Certification                                                                            requester. Do not
 lntemal Rever,.;e Serv-:ce
                                                ► Go lo www.lrs.gov/FormW9 for Instructions and the latest Information,                                                          send to lhe IRS,
                 '1 Name las shown on your income, :a11C return). Name Is requited on 1his lir.o; do not leave this line blank.
                 Mary B. Greer
                  2 Su,:n~s ~ame/disregarded entity name, H d,fferent from aboi,e

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        Cll
                 3324 Parkwood Drive
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[Jm,.,11                   Taxoayer Identification Number fTIN)
Enter you~ TIN in. the approptiate box. The TIN provided must.match the name given on line 1 to avoid                                              I SocJal security number                                    I
backup w1thhold1ng. For Individuals, lhls Is gene,atly your social sect1rlty number (SSN). Howeyer, fot a
resident alien, sole proprlelor. or diSregarded entity, see the Instructions for Part I, laler. For olher
enlitl-es, ii ls your employer icfantiflcatlon number {~IN). If you do not have a number, see How to get a
 TIN, later,                                       ·                         ·
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 Note,: If lhe accouf\t is In morelh;m one name, sae the Instructions for line 1, Also see What Namr, and                                          j Employer ldent1ficatlon number
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                           Certification
Under penalties of perjury, I cen[fy that:
1. The number shown on this form Is my_ correct taxpayer IC!entlficatlon number (or I arn waiting for a number 10 be issued to CJ?,e); and
2.1 am.not.subject to backup withholding because: (a) I am exempt from backup wj~hhotding, or (b) I have not been nOUfied by :he lnt&filal Revenue
   Service ~RS) that Lam subIect co backup w1tnnold1ng as a result oJ a failure 10 report ~ll interest or di'Vidend.s. or (c} the IRS has notifiE!d ma lhat I am
   no ro~Qer subject io backup wiihholding: and
3.1 Bffl a U.S. citizen or other U.S. person (dellned below): and
4. The FATCA cod'e(s) entered on this form (If any} Indicating lhat I am exempt from FATCA reporting Is correct.
·certification instructions. You must cross out ilem 2 above if you have been notified by lhe IRS that yov are c,menlly S\lbJac1 to back.up witnhcildlng beCausa
you ha'Je faiJed to report all Interest and di'Jidends on your tax return, For real estate transactions, Item 2 does not apply. For mortgage lnterest_paid.
 acquisition or abilfldonmant Of secured property, cancellation or debt, contrlbut!ons to an fndMdual retirement arrattgement (IRA}, and ge.'1era.l~/. payments
0:her than Interest and dividends, you are not required t~ sign the cer1ilication, but you must provid~ your correct TIN. See the'. l_nstructions for Part II, later.
Sign                  Signature: of
 Here                 U.S. person ►                                                                                                     Cate ►           4-(4- 2-o/9
 General Instructions                                                                                         • Form 1O99~DIV (div:dends. including those frorn Stocks or rriu;t.:al
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noted,                                                                                                         • Form 1O99-MISC (varjous types of income, prizes, award,1 or gross
                                                                                                              proceeds)         ·
 Future developments. For the la:est Information about developments
                                                                                                               • Form 1099-B {stock or mutual fund sales and certain other
 related la Form W-9 and its in.structions. such as legislation enacted
                                                                                                             ·transactions by bi,okers)
-after they were published. go to www.lrs.go'IIFormV-19.
                                                                                                            ·• • FOrm 1099-S (pr~ceeds from real estate transactiOhs)
Purpose of Form                                                                                                • Form 1O99-K {merchant card and third party netwotk ttansactions)
  An individual or,entit'I (Form W-9 raquestsr) who Is required to ma an                                       • Form 1098 lbpme rr.ortgage interesO, 1098-E -l?l.udent loan Interest).
. information return with_· the IRS must obIaii'I your correct taxpayer                                        1098-T (tuit1on) ·••
ldentificat!on number (TIN).which may be your socfal security number                                           • Form 1099-C (canceled debt)
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  taxpafer iden~fic.ition numtjer (ATIN). or employer ldentincation number                                     • Form 1099•A (acquisition or abandonmE!rit of secured property)
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  retuiris iriclude, but are not limited to, the following, ·                                                  ·it yoo do not f8tu,;., Fotm W-9 to the requester with B TIN, you might
   • Form 1099-INT ~nterest earned or paid)                                                                   be subject to backup withholding. See What !s backup wlthholdlng,
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                                                                                 CaL No. 10231X                                                                                Farm W•9 (Rev, 10·2016)
       Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 81 of 93
                                                                   ;
                                               (




 John Hancock Life Insurance Company
 I John Hancock Way, Suite 1350
 Boston,-.MA 02217-1350

 RE:          Life Insurance Policy No. 93 902 g;i9
              Insured: MARY GREER
              John Hancock Life Insurance Company

         1,-MARIL\'.N JANE GREER, as Independent Executri:i of the Estate of Mary B. Greer,.
 Deceased (the ''Estate..), beneficiaiy of the above-mentioned policy, do hereb): authorize THE Li\ W
 OFFICES OF LEONARD S. ROTH, PC, counsel for the Estate, to communicate with John Hancock'
 Lifo Insurance Company on behalfofm);selfand the Estate in regard to the above-mentioned policy:




                             JESSICAGONZALEZ
                             ,:01/.i!Y !'1.-00C. SIATS OF TEJV.S       Notar): Public. State of Texas
                                >,l'/COMl,IISSlOli EmllES
                                  JUNE 26, 2019




·7_, Gr..:i:J5S7 LtrJH.upd
       Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 82 of 93




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                                                  EXHIBIT "G"

                                              Copy of Page 3.0A of the
                                 FLEXIBLE PREMIUM ADJUSTABLE LIFE INSURANCE POLICY




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         Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 83 of 93
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     ). POI.ICY SPECIFICATIONS ... ---·-------------
                                                               ·-~~-~---~--····-

          LIFE INSURED          MARYGRIJcR                                      AGt;:'AT POLICY DA'J'F. 8 l

       POLIGY NUMBER            93 902 849                                      POI.ICY DATE AUG 2, 2007
                                                                                 ISSUE DATE FEil 22, 2008


                 OWNER          WILLIAM GREljR


         BENEl"l¢;iAR Y         AS DESIGNATED IN THE APPLICATION OR SUBSEQUENT!. Y CIIANGF.D

       PREMIUM MODE             ANNUALLY

 I      BEGINNlNG ON
 I     MONDAY Yt;:AR            PLANNED PREMIUM
.,
,I      AUG 2, 2007             l. S20,069.89 FOR 24 YEARS·                 2. $0.00 THEREAFTER
..
      GOVERNING LAW             TEXAS


       This policy provides life insurance coverage for lhc hfeliine of lhe lire insured if suflicienl premiums are paid.
       Premium p•ymcnls in addilion to the plonned premium shown may need tu be mode to keep 1bis policy om!
       coverage in force.
             .         .
       Keeping the policy and coverage in force will be affected by faclors such as: changes in the cWTent cosl or
       insurance rates; 1he amount, timing and frequency of premium payments; lhe inlcrest rale being credited lo the
       guaramccd intcresl account; changes lo the death benefit option; decreases in the face amounl; loan activity; and
       partial withdrawals. Also refer lo the Grace Period and Policy Termination provisions under sections 7 and 8 of
       your policr,

       This policy will not go into default if all planned premiums shown above are paid when they are due, and you do
       not take any policy loans or withdrawals. For purposes of lb~ preceding statement we have assumed maximum
       mortalily, maximum expenses, minimum interest and that you do not 1crminatc any supplemenlary benefit riders
       issued with your policy,

       Plan details, risk classificalion and additional rating are shown on the nexr page.




                                                                                                              U030A06B
      Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 84 of 93




                                   EXHIBIT "H"

                                       Copy of
                            INFORCE SNAPSHOT ILLUSTRATION
                                 dated August 2, 2017




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         Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 85 of 93
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             Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 86 of 93


                                                       Diane Trautman
                                             COUNTY CLERK, HARRIS COUNTY, TEXAS
                                                PROBATE COURTS DEPARTMENT

                                                                                       County Probate Court No. 3

                                                       PERSONAL CITATION


The State of Texas                      {        Docket No: 467380-401                 Receipt No. Private Service
                                        {
County of Harris                        {         In the Estate of: Mary B. Greer, Deceased

Marilyn J. Greer, Individually and as Independent Executor
of the Estate of Mary B. Greer, Deceased
vs
John Hancock Life Insurance Company (USA)

To: .John Hancock Life Insurance Company /USA), by and through its Registered Agent-Customer Service,
            th
    211 E. 7 Street, Suite 620. Austin. Texas 78701-3218.

Greetings:

You arc hereby commanded to appear by filing a written contest or answer on said Petition for Declaratory Judgment
to Determine BeueficiRry of Life Insurance Contract filed May 14, 2019, (hereto attached) before the Honorable
Probate Court No. 3 (Three) of Harris County, Texas, Civil Courthouse, 201 Caroline, Houston, Texas on or before 10:00
o'clock a.m. of the Monday next after the expiration of 20 days after the date of service hereof, ~y filing it with the
Probate Clerk, Civil Courthouse, 201 Caroline, Room 800, Houston, Texas, or mailing to P.O. Box 1525, Houston, Texas
77251-1525.

    Notice:       "You have been sued. You may employ nu attorney. If you or your attorney do
                  not file a written answer with the clerk who issued this citation by 10:00 a.m. on
                  the Monday next following the expiration of twenty days after you were served
                  this citation and petition, a default judgment may be taken against you."

        Issued and given under my hand of said court, at Houston, Texas, on this the 16th day of May, 2019.

       (Seal)                                                                   Diane Trautman, County Clerk
                                                                                County Probate Court No. 3
                                                                                20 I Caroline, Room 800
                                                                                Harris County, Texas


                                                                                Karina Marino
                                                                                Deputy County Clerk

Attorney:         Matthew G. Wheatley
                  4265 San Felipe, Suite 500
                  Houston, TX 77027
                  713-622-4222



                                     P.O. Box 1525 • Houston, TX 77251-1525 • (713) 274-8585
                                                                                                       EXHIBIT B-3
                                                         wWlv.cclerk.hctx.nct
      Form No. l-02-203 (Rev. 10/05/201 I)                                                            Pnge 1 ofl
 Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 87 of 93
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                                                                                                       5/20/2019 9:45 AM
                                                                                                          Diane Trautman
                                                                                                             County Clelk
                                                                                Harris County- County Probate Court No. 3
                                                                                                         Accepted By: AA
                                     CAUSE NO, 467380-401

MARILYN J. GREER, INDIVIDUALLY AND AS             §
INDEPENDENT EXECUTOR OF THE ESTATE                §
OF MARY B. GREER, DECEASED                        §
PLAINTIFF                                         §                      IN THE Probate Court No. 3
                                                  §
vs.                                               §
                                                                              HARRIS COUNTY, TX

JOHN HANCOCK LIFE INSURANCE COMPANY               §
(USA)                                             §
DEFENDANT                                         §
                                                  §


                                       RETURN OF SERVICE

ON Friday, May 17, 2019 AT 12:37 PM
CITATION, PETITION FOR DECLARATORY JUDGMENT TO DETERMINE BENEFICIARY OF LIFE
INSURANCE CONTRACT, EXHIBIT A, EXHIBIT B, EXHIBIT C, EXHIBIT D, EXHIBIT E, EXHIBIT F,
EXHIBIT G, EXHIBIT H for service on JOHN HANCOCK LIFE INSURANCE COMPANY (USA) C/O
REGISTERED AGENT CUSTOMER SERVICE CENTER came to hand.

ON Friday, May 17, 2019 AT 1:41 PM, I, Alan WIiiiams, PERSONALLY DELIVERED THE
ABOVE-NAMED DOCUMENTS TO: JOHN HANCOCK LIFE INSURANCE COMPANY (USA) C/O
REGISTERED AGENT CUSTOMER SERVICE CENTER, by delivering to designated agent, Adam Ways.,
211 E. 7TH STREET SUITE 620, AUSTIN, TRAVIS COUNTY, TX 78701.

My name is Alan Williams. My address is 1201 Louisiana, Suite 370, Houston, Texas 77002,
USA, I am a private process server certified by the Texas Judicial Branch Certification Commission
(PSC 12124, expires 7/31/2019). My date of birth Is 4/30/1994. I am in all ways competent to make
this statement, and this statement is based on personal knowledge, I am not a party to this case and
have no interest In Its outcome. I declare under penalty of perjury that the foregoing is true and
correct.

Executed In TRAVIS COUNTY, TX on Friday, May 17, 2019 AT 1:41 PM.

/5/ Alan Williams




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Doc ID: 262893_1



                                                                                      EXHIBIT B-4
      Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 88 of 93
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                                                                                      Harrls County - County Probate Court No. 3
                                                                                                                Accepted By: AA
                                           NO. 467,380-401


MARILYN J. GREER, INDIVIDUALLY                     §                      IN THE PROBATE COURT
AND AS INDEPENDENT EXECUTOR                        §
OF THE ESTATE OF MARY B. GREER,                    §
DECEASED, Petitioner                               §
                                                   §
vs.                                                §                             NUMBER TWO (2) OF
                                                   §
JOHN HANCOCK LIFE                                  §
INSURANCE COMPANY (USA),                           §
Defendant                                          §                     HARRIS COUNTY, TEXAS

                                    NOTICE OF SUBMISSION

          Please take notice that at or after at 9:00 a.m. on Thursday, May 30, 2019, the Petition for

Declaratory Judgment to Determine Beneficiary ofLife Insurance Contract filed by the ESTATE

OF MARY B. GREER, DECEASED, by and through MARILYN J. GREER, as the Independent

Executor and MARILYN J. GREER, individually (collectively "Petitioner") will be submitted to

the Court for ruling without the necessity of an oral hearing, unless demand for one is made.

                                                Respectfully submitted,

                                               THE LAW OFFICES OF LEONARD S. ROTH, P.C.



                                                By:        /4uc01d!,.,,S
                                                       Aeonard S. Roth           '
                                                                                    lffh
                                                        State Bar No. 17313550
                                                        Matthew G. Wheatley
                                                        State Bar No. 24102819
                                                        4265 San Felipe, Suite 5_00
                                                        Houston, Texas 77027
                                                        ph: (713) 622-4222 1
                                                          fax: (713) 622-4227'
                                                          email: lsrpc@aol,com

                                                ATTORNEYS FOR COMPLAINANT




                                                      1
                                                                                                 EXHIBIT B-5
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    Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 89 of 93




                                       CERTIFICATE OF SERVICE


       This is lo certify that a true and correct copy of the foregoing Notice of Submission has
been delivered to counsel of record indicated below on      ,&7           ;<, f    , 2019.
           Andrew G. Jnbinsky                                                         VIAEFILE
           andy.jubin,~ky@figdav.com
           RahaAssadi
           raha,Msadi@figdav.com
           Figari + Davenport, LLP
           901 Main Street, Suite 3400
           Dallas, Texas 75202


                                                     By:     Lar/YA c:US~ .
                                                           ~onard S. Roth




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                                                                                                                                       Accepled By: JA
                                                  NO. 467,380-401

MARILYN J. GREER, INDIVIDUALLY                             §                                 IN THE PROBATE COURT
AND AS INDEPENDENT EXECUTOR                                §
OF THE ESTATE OF MARY B. GREER,                            §
DECEASED, Petitioner                                       §
                                                           §
vs.                                                        §                                         NUMBER TWO (2) OF
                                                           §
JOHN HANCOCK LIFE                                          §
INSURANCE COMPANY (USA),                                   §
Defendant                                                  §                                HARRIS COUNTY, TEXAS


                                              NOTICE OF SUBMISSION

          Please take notice that at or after at 9:00 a,m, on Thursday, July 11, 2019, the Petilionfor

Declaratory Judgment to Determine Beneficiary ofLife Insurance Contract filed by the ESTATE

OF MARY B. GREER, DECEASED ("Estate"), by and through MARILYN J. QREER, as the

Independent Executor and MARILYN J, GREER, individually (collectively "Petitioner") will be

submitted to the Court for ruling without the necessity of an oral hearing, unless demand for one is

made.

                                                      Respectfully submitted,

                                                     THE LAW OFFICES OF LEONARD S. ROTH, P.C.


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                                                          )(eonard S. Roth                               !·
                                                            State Bar No. 17313550
                                                            Matthew G. Wheatley
                                                            State Bar No. 24102819
                                                            4265 San Felipe, Suite 500
                                                            Houston, Texas 77027
                                                            ph: (713) 622-4222
                                                            fax: (713) 622-4227
                                                            email: lsrpc@aol.com

                                                      ATTORNEYSFORPETIDONER



                                                           1                                                             EXHIBIT B-6
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     Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 91 of 93




                                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was sent to the following attorneys ofrecord as follows:

          RahaAssadi                                                              VIAEFILE
          FIGARI + DAVENPORT, LLP
          90 I Main Street, Suite 3400
          Dallas, TX 75202
          Email: raha.assadi@figdav.com


on this           i 1~           day of_--'-A_,··.L.:,4,__·0_,__ _ _ __,, 2019.




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      Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 92 of 93                                    FILED
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                                                                                                           County Clerk
                                                                             Harris County - County Probate Court No. 3
                                                                                                       Accepted By: AJ
                                        NO. 467,380-401

MARILYN J. GREER, INDIVIDUALLY                   §                   IN THE PROBATE COURT
AND AS INDEPENDENT EXECUTOR                      §
OF THE ESTATE OF MARY B. GREER,                  §
DECEASED, Petitioner,                            §
                                                 §
VS.                                              §                       NUMBER THREE (3) OF
                                                 §
JOHN HANCOCK LIFE                                §
INSURANCE COMPANY (USA),                         §
Defendant.                                       §                   HARRIS COUNTY, TEXAS

                               DEFENDANT’S ORIGINAL ANSWER

        Defendant John Hancock Life Insurance Company (U.S.A.) (“Defendant”) files its

original answer, and states:

        1.     Subject to such admissions and stipulations as may be made at or before time of

trial, Defendant denies generally and specially the material allegations in the Petition for

Declaratory Judgment to Determine Beneficiary of Life Insurance Contract pursuant to Tex. R.

Civ. P. 92, and demands strict proof thereof in accordance with the requirements of the laws of

this state.

        2.     Defendant requests the following relief:

               (a)     That Petitioner take nothing by reason of her suit;

               (b)     That Defendant be dismissed with its costs; and

               (c)     That Defendant have such other and further relief,
                       both general and special, at law and in equity, to
                       which it may show itself justly entitled.




                                                                                   EXHIBIT B-7
Defendant’s Original Answer                                                                    Page 1
    Case 4:19-cv-02132 Document 1-4 Filed on 06/13/19 in TXSD Page 93 of 93




Dated: June 6, 2019                      Respectfully submitted,

                                         By:      /s/ Andrew G. Jubinsky
                                                 Andrew G. Jubinsky
                                                 Texas Bar No. 11043000
                                                 andy.jubinsky@figdav.com
                                                 Raha Assadi
                                                 Texas Bar No. 24105444
                                                 raha.assadi@figdav.com

                                         FIGARI + DAVENPORT, L.L.P.
                                         901 Main Street, Suite 3400
                                         Dallas, Texas 75202
                                         Telephone: (214) 939-2000
                                         Facsimile: (214) 939-2090

                                         ATTORNEYS FOR DEFENDANT JOHN HANCOCK LIFE
                                         INSURANCE COMPANY (U.S.A)




                               CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing document has been served
on the parties listed below on June 6, 2019.

Leonard S. Roth
Matthew G. Wheatley
The Law Offices of Leonard S. Roth, P.C.
4265 San Felipe, Suite 500
Houston, Texas 77027
lsrpc@aol.com
Attorneys for Petitioner

                                               /s/ Andrew G. Jubinsky
                                               Andrew G. Jubinsky




Defendant’s Original Answer                                                                Page 2
